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                        7
                        8                           UNITED STATES DISTRICT COURT
                        9                       CENTRAL DISTRICT OF CALIFORNIA
                     10
                     11
                     12 NICHOLAS VAN                 BURREN,      a )   Case No.:
                        Colorado citizen,                           )
                     13                                             )   COMPLAINT FOR:
                                     Plaintiff,                     )
                     14                                             )   (1) COUNTERFEITING (15 U.S.C. §
                              v.                                    )       1114(1)(a));
                     15                                             )   (2) FEDERAL TRADEMARK
                                                                    )       INFRINGEMENT (15 U.S.C. §
                     16      ENVII, INC., a California corporation, )       1114);
                             and DOES 1 - 100,                      )   (3) FEDERAL FALSE
                     17                                             )       DESIGNATION OF ORIGIN (15
                                       Defendants.                  )       U.S.C. § 1125(a)); AND
                     18                                             )   (4) CALIFORNIA COMMON LAW
                                                                    )       TRADEMARK INFRINGEMENT.
                     19                                             )
                                                                    )
                     20                                             )   DEMAND FOR JURY TRIAL
                                                                    )
                     21                                             )
                                                                    )
                     22                                             )
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                        1          Plaintiff Nicholas Van Burren (“Plaintiff”), by and through his counsel,
                        2 hereby files this complaint against Defendant Envii, Inc. (“Defendant”) as follows:
                        3
                        4                             JURISDICTION AND VENUE
                        5
                        6          1.    This is an action primarily for trademark counterfeiting and trademark
                        7 infringement under the Federal, State and common laws with an amount in
                        8 controversy exceeding seventy five thousand dollars ($75,000).
                        9          2.    This Court has original jurisdiction over the claims in this action
                     10 pursuant to 15 U.S.C. § 1121 (Lanham Act), 28 U.S.C. § 1331 (Federal Question),
                     11 28 U.S.C. § 1332 (Diversity), and 28 U.S.C. § 1338 (Trademarks).
                     12            3.    This Court has supplemental jurisdiction over the claims in this action
                     13 that arise under state statutory and common law pursuant to 28 U.S.C. § 1367(a)-(b)
                     14 because the claims are so related to the Federal claims that they form part of the
                     15 same case or controversy and derive from a common nucleus of operative facts.
                     16            4.    This Court has personal jurisdiction over Defendant because Defendant
                     17 maintains its principal place of business within this judicial district and conducts
                     18 substantial business within this judicial district that relates specifically to the
                     19 unlawful activities at issue in this action. The harm suffered by Plaintiff flows
                     20 directly from the business conducted by Defendant within this judicial district.
                     21            5.    Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391(a)
                     22 because all of the Defendants are subject to personal jurisdiction in this judicial
                     23 district at the time this action is being commenced.
                     24            6.    Venue is also proper in this judicial district pursuant to 28 U.S.C. §
                     25 1391(b) and 28 U.S.C. § 1391(c) because Defendant maintains its principal place of
                     26 business within this judicial district and resides within this judicial district, a
                     27 substantial part of the events or omissions by Defendants and the threatened and
                     28 actual harm to Plaintiff that gives rise to the claims in this action occurred in this

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                        1 judicial district, and a substantial part of the property that is the subject of the action
                        2 is located in this judicial district.
                        3
                        4                                          PARTIES
                        5
                        6          7.    Plaintiff Nicholas Van Burren is an individual and citizen of the state of
                        7 Colorado.
                        8          8.    Upon information and belief, Defendant Envii, Inc. is, and at all times
                        9 mentioned herein was, a corporation organized and existing under the laws of the
                     10 State of California with a principal place of business in Garden Grove, California.
                     11 Upon information and belief, the corporation was formed with the California
                     12 Secretary of State on or about July 6, 2016. Upon information and belief, the initial
                     13 Statement of Information filed with the California Secretary of State on July 11,
                     14 2016 identified the officers of the company as Aldrich Hsu, CEO; Jacob Giverink,
                     15 Secretary; and Jose Arteaga, Chief Financial Officer. Upon information and belief,
                     16 the Certificate of Amendment of Articles of Incorporation filed with the California
                     17 Secretary of State on March 6, 2017 identified Aldrich Hsu as President and Jose
                     18 Arteaga as Secretary.
                     19            9.    The true names and capacities of Defendant DOES 1 through 100,
                     20 inclusive, whether individual, corporate, associate, or otherwise, are presently
                     21 unknown to Plaintiff who therefore sues such Defendants by such fictitious names.
                     22 Plaintiff will seek leave of this Court to amend this Complaint to show said
                     23 Defendant’s true names and capacities when same have been ascertained.
                     24            10.   Plaintiff is informed and believes and upon such information and belief
                     25 alleges that each of the Defendants named herein as DOES 1 through 100, inclusive,
                     26 were, and are in some manner responsible for the actions, acts, and omissions herein
                     27 alleged, and for the damage caused by the Defendants and are, therefore, jointly and
                     28 severally liable for the damages caused to Plaintiff.

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                        1          11.   Plaintiff is informed and believes, and upon such information and
                        2 belief, alleges that at all times mentioned herein, Defendant, was the agent,
                        3 employee, and officer of each of the remaining Defendants and in doing the things
                        4 herein alleged, were acting within the scope, course, and purpose of said agency or
                        5 employment, and with permission and consent of each of the remaining Defendants.
                        6          12.   Plaintiff is informed and believes and upon such information and belief
                        7 alleges that each of the Defendants, including DOES 1 through 100, inclusive, were,
                        8 and at all times herein mentioned, acting in concert and in conspiracy with each and
                        9 every one of the named Defendants.
                     10
                     11                                 FACTUAL ALLEGATIONS
                     12                                      Plaintiff’s Business
                     13            13.   For nearly a decade, Plaintiff has been a leading innovator,
                     14 manufacturer and retail seller of smoking articles, smoking devices, structural parts
                     15 for smoking devices and smoking accessories, including, without limitation,
                     16 electronic hookahs; smokeless cigar vaporizer pipes; and smokeless cigarette
                     17 vaporizer pipes; electronic cigarettes, vaporizers, atomizers; chemical flavorings in
                     18 liquid form (e-liquids) for use with electronic cigarettes, vaporizers, and atomizers,
                     19 mechanical modification devices for use with electronic cigarettes, vaporizers, and
                     20 atomizers, tanks, cartridges, cartomizers, pods and heating elements for use with
                     21 electronic cigarettes, vaporizers, and atomizers as well as retail and online retail
                     22 store services featuring the same (“Plaintiff’s Goods and Services”).
                     23            14.   Plaintiff has promoted and sold Plaintiff’s Goods and Services with the
                     24 trademark and trade name ENVY prominently featured in standard character,
                     25 stylized and stylized with design formatives (hereinafter “Plaintiff’s ENVY Mark”).
                     26 Plaintiff first used Plaintiff’s ENVY Mark on and in connection with Plaintiff’s
                     27 Goods and Services as early as 2008 and has used Plaintiff’s ENVY Mark on and in
                     28 connection with Plaintiff’s Goods and Services continuously since the date of first

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                        1 use. Plaintiff’s ENVY Mark is well known and recognized among consumers
                        2 within the relevant industry.
                        3          15.   Plaintiff’s ENVY Mark is unique and distinctive and, as such,
                        4 designates a single source of origin. As a result of Plaintiff’s continuous use of
                        5 Plaintiff’s ENVY Mark, Plaintiff has acquired substantial goodwill in and to
                        6 Plaintiff’s ENVY Mark.
                        7          16.   Plaintiff has promoted and sold Plaintiff’s Goods and Services
                        8 featuring Plaintiff’s ENVY Mark through both online and brick-and-mortar
                        9 channels of trade with sales occurring through online and brick-and-mortar locations
                     10 in every State in the United States of America.
                     11            17.   Plaintiff also operates an e-commerce website located at the domain
                     12 name <www.envycig.com> (“Plaintiff’s Website”). Through Plaintiff’s Website,
                     13 Plaintiff promotes and sells Plaintiff’s Goods and Services under and in connection
                     14 with Plaintiff’s ENVY Mark. A true and correct copy of a page from Plaintiff’s
                     15 Website as it appeared on January 30, 2018 at https://envycig.com/shop/envy-
                     16 vapors-ecig-accessories/evy-ego-battery/ is attached hereto as Exhibit A.
                     17            18.   Plaintiff has invested significantly to extensively advertise and promote
                     18 Plaintiff’s Goods and Services featuring Plaintiff’s ENVY Mark throughout the
                     19 United States, including, without limitation, advertising through regional radio,
                     20 newspapers, mailers and national trade magazines, online advertising through
                     21 www.youtube.com, social media websites, affiliate marketing programs, forum
                     22 posting, banner advertising, and review sites, as well as through attendance of
                     23 national, regional, and local trade shows. As a result of Plaintiff’s extensive and
                     24 exclusive use, Plaintiff’s ENVY Mark has developed significant goodwill in the
                     25 market and represents a valuable asset of Plaintiff.
                     26            19.   Plaintiff has invested significant resources to protect Plaintiff’s ENVY
                     27 Mark, including, obtaining a trademark registration from the U.S. Patent and
                     28 Trademark Office. Specifically, Plaintiff has obtained the following registration for

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                        1 the ENVY trademark in a standard character format which will hereinafter be
                        2 referred to as “The ‘824 Registration”:
                        3
                        4        MARK                  REG. NO.       REG. DATE PRODUCTS/SERVICES
                                 ENVY                  4717824        April 7, 2015 electronic          hookahs;
                        5                                                           smokeless cigar vaporizer
                                                                                    pipes;     and    smokeless
                        6                                                           cigarette vaporizer pipe, in
                                                                                    Class 34.
                        7
                        8            20.   A true and correct copy of the certificate of registration for the ‘824
                        9 Registration 1 is attached hereto as Exhibit B.
                     10
                     11                                 Defendant’s Wrongful Conduct
                     12              21.   On information and belief, Defendant is a California corporation
                     13 engaged in the business of promoting and selling products in direct competition with
                     14 Plaintiff, including, without limitation, smoking articles, smoking devices, structural
                     15 parts for smoking devices and smoking accessories, including, without limitation,
                     16 electronic hookahs; smokeless cigar vaporizer pipes; and smokeless cigarette
                     17 vaporizer pipes; electronic cigarettes, vaporizers, atomizers; chemical flavorings in
                     18 liquid form (e-liquids) for use with electronic cigarettes, vaporizers, and atomizers,
                     19 mechanical modification devices for use with electronic cigarettes, vaporizers, and
                     20 atomizers, tanks, cartridges, cartomizers, pods and heating elements for use with
                     21 electronic cigarettes, vaporizers, and atomizers as well as retail and online retail
                     22 store services featuring the same (“Defendant’s Products and Services”).
                     23              22.   Defendant promotes and sells Defendant’s Products and Services in
                     24 connection with the trademark and trade name ENVII (“Defendant’s ENVII Mark”).
                     25
                     26      1
                                 The ‘824 Registration was initially issued in the name of Akrum Alrahib, but was
                     27 subsequently assigned to Plaintiff by assignment dated March 20, 2015 and recorded with
                     28 the U.S. Patent and Trademark Office on March 27, 2015. A true and correct copy of the
                             assignment is attached hereto as Exhibit C.

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                        1 On information and belief, Defendant generates revenue from the sale of
                        2 Defendant’s Products and Services under and in connection with Defendant’s
                        3 ENVII Mark.
                        4          23.   Defendant sells Defendant’s Products and Services in connection with
                        5 Defendant’s ENVII Mark through, among other channels, websites located at the
                        6 Internet domain names www.vapeenvii.com, www.venvii.com, and others. Each of
                        7 Defendant’s known Internet domain names resolves to a single website operated by
                        8 Defendant (the "Defendant’s Website") which used, and continues to use,
                        9 Defendant’s ENVII Mark thereon. On information and belief, Defendant generates
                     10 revenue through Defendant’s Website. A true and correct copy of the Defendant’s
                     11 Website as it appeared on January 30, 2018 is attached hereto as Exhibit D. An
                     12 examination of Exhibit D shows that the appearance of Defendant’s ENVII Mark
                     13 on Defendant’s Website is as follows:
                     14
                     15
                     16
                     17            24.   On information and belief, Defendant has used and continues to use
                     18 Defendant’s ENVII Mark in connection with Defendant’s Products and Services.
                     19 Specifically, on information and belief, Defendant has used and continues to use
                     20 Defendant’s ENVII Mark in connection with the promotion and sale of Defendant’s
                     21 Products and Services as well as in connection with the Defendant’s Website.
                     22            25.   On September 13, 2016, Defendant filed U.S. Application Serial No.
                     23 87170244 (“the ‘244 Application”) with the U.S. Patent and Trademark Office and
                     24 sought to register Defendant’s ENVII Mark in a standard character format for use in
                     25 connection with “Electronic cigarette boxes; Electronic cigarettes” in International
                     26 Class 34. A true and correct copy of the ‘244 Application is attached hereto as
                     27 Exhibit E. As set forth in the ‘244 Application, Defendant claims a first use date of
                     28 the mark as August 1, 2016 – a date that is later than the date that the U.S. Patent

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                        1 and Trademark Office issued the trademark registration for Plaintiff’s ENVY Mark
                        2 as set forth in The ‘824 Registration.
                        3          26.   On September 20, 2016, the U.S. Patent and Trademark Office issued
                        4 to Defendant a Notice of Pseudo Mark that explained, in part, that “A PSEUDO
                        5 MARK may be assigned to marks that include words, numbers, compound words,
                        6 symbols, or acronyms that can have alternative spellings or meanings.” Further, the
                        7 notice explained that the Pseudo Mark for Defendant’s ENVII Mark is ENVY. A
                        8 true and correct copy of the Notice of Pseudo Mark is attached hereto as Exhibit F.
                        9 Plaintiff believes, and on that basis asserts, that Defendant submitted nothing to the
                     10 records of the U.S. Patent and Trademark Office objecting to or refuting the U.S.
                     11 Patent and Trademark Office’s statement in the Notice of Pseudo Mark.
                     12            27.   On December 16, 2016, the U.S. Patent and Trademark Office issued
                     13 an Office Action to the ‘244 Application refusing registration to Defendant under
                     14 Section 2(d) of the Lanham Act, 15 U.S.C. § 1052(d) on grounds of a likelihood of
                     15 confusion between Defendant’s use of Defendant’s ENVII Mark and Plaintiff’s
                     16 ENVY Mark, specifically, the mark that is the subject of Plaintiff’s ‘824
                     17 Registration. A true and correct copy of the Office Action is attached hereto as
                     18 Exhibit G.
                     19            28.   On June 16, 2017, Defendant submitted arguments in response to the
                     20 U.S. Patent and Trademark Office refusal of registration. A true and correct copy of
                     21 Defendant’s response to the Office Action is attached hereto as Exhibit H. In
                     22 arguing against the refusal of registration, Defendant argued:
                     23
                                   “[Defendant’s ENVII Mark] and the [Plaintiff’s ENVY Mark] are not similar
                     24            in sound. The audible differences between the marks are both obvious and
                                   numerous. An examination of the marks reveals that the [Plaintiff’s ENVY
                     25            Mark] is of two syllables of “ENVY" as opposed to the [Defendant’s ENVII
                                   Mark], which contains three syllables of "ENVII". Thus, [Defendant’s ENVII
                     26            Mark] is properly pronounced as EN-VEE-AHY. For instance, radii, a
                                   common word used for the plural of radius, is properly pronounced "ray-dee-
                     27            ahy.” Denarii, a common Biblical word used for the plural of denarius, is
                                   properly pronounced “'dih-nair-ee-ahy." Genii, the plural for genius, is
                     28            properly pronounced “jee-nee-ahy.” Attached as Exhibit I are pages from

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                                   dictionary.com showing the proper pronunciation of radii, denarii, and genii.
                        1          Attached as Exhibit 2 are pages from Merriam-webster.com which further
                                   support Applicant's proposition of the proper pronunciation of radii, denarii,
                        2          and genii. Attached as Exhibit 3 is a copy of Applicant's website
                                   vapeenvii.com, which shows that Applicant promotes its mark to be
                        3          pronounced as three syllables (see upper left hand comer of the website.)
                        4          29.   Despite Defendant’s representations to the U.S. Patent and Trademark
                        5 Office to the contrary, upon information and belief, all individuals associated with
                        6 Defendant corporation pronounced Defendant’ ENVII Mark as two symbols. On
                        7 information     and    belief,   Jose   Arteaga       appears     in    a   video   located   at
                        8 https://www.youtube.com/watch?v=qAzskUZkkyM                      wherein     he     pronounces
                        9 Defendant’s ENVII Mark as two syllables (i.e., en-vee) and phonetically identical to
                     10 Plaintiff’s ENVY Mark. On information and belief, Brandon Nelson, an individual
                     11 that Plaintiff believes and on that basis alleges to be association with Defendant
                     12 corporation,            appears           in        a             video         located         at
                     13 https://www.youtube.com/watch?v=VN2U01hAJn0                        wherein     he     pronounces
                     14 Defendant’s ENVII Mark as two syllables (i.e., en-vee) and phonetically identical to
                     15 Plaintiff’s ENVY Mark. On information and belief, Jacob Giverink appears in a
                     16 video located at https://www.youtube.com/watch?v=LN-uITYLhKE&t=1s wherein
                     17 he pronounces Defendant’s ENVII Mark as two syllables (i.e., en-vee) and
                     18 phonetically identical to Plaintiff’s ENVY Mark.
                     19            30.   Despite Defendant’s efforts to intentionally mislead the U.S. Patent and
                     20 Trademark Office about the pronunciation of Defendant’s ENVII Mark, the
                     21 Examining Attorney at the U.S. Patent and Trademark Office nevertheless rejected
                     22 Defendant’s arguments and issued a Final Office Action on July 4, 2017. In the
                     23 Final Office Action, the Examining Attorney states that the refusal pursuant to
                     24 Trademark Act Section 2(d) is repeated and made FINAL. A true and correct copy
                     25 of the Final Office Action is attached hereto as Exhibit I. Included with the U.S.
                     26 Patent and Trademark Office’s Final Office Action was a printout of Plaintiff’s
                     27 website.
                     28            31.   As a direct and proximate result of the foregoing, Defendant has been

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                        1 on notice of the likelihood of confusion with Plaintiff’s ENVY Mark since at least
                        2 as early as December 16, 2016. On information and belief, Plaintiff alleges that
                        3 Defendant has been on notice of the likelihood of confusion with Plaintiff’s ENVY
                        4 Mark since even prior to the time when the U.S. Patent and Trademark Office put
                        5 Defendant on notice.        Despite the foregoing, Defendant has willfully and
                        6 intentionally continued to use Defendant’s ENVII Mark knowing that such use was
                        7 spurious and likely to cause confusion among ordinary consumers in the
                        8 marketplace.
                        9          32.   On or about August 4, 2017, Plaintiff transmitted written notice to
                     10 Defendant stating that the use of Defendant’s ENVII Mark was likely to cause
                     11 confusion. Plaintiff demanded that Defendant cease use of Defendant’s ENVII
                     12 Mark. Plaintiff further demanded that Defendant refrain from attending an industry
                     13 trade show that was set to take place on August 25, 2017. Defendant refused to
                     14 comply with Plaintiff’s demands.
                     15            33.   On information and belief, once Defendant received Plaintiff’s demand
                     16 to refrain from attending the industry trade show, Defendant again argued that
                     17 Defendant’s ENVII Mark was not pronounced in a manner similar to Plaintiff’s
                     18 ENVY Mark. This time, however, Defendant’s acknowledged that Defendant’s
                     19 ENVII Mark is comprised of two syllables. However, Defendant focused on the
                     20 stylized icon that precedes the word ENVII and argued that the icon is actually the
                     21 letter V that thereby imbues the mark with a pronunciation of “vhen-vee.”
                     22 Defendant modified the images on Defendant’s Website by modifying the
                     23 appearance of Defendant’s ENVII Mark from that shown on the left below to that
                     24 shown on the right below:
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                     27
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                        1          34.   Upon information and belief, despite Defendant’s numerous efforts to
                        2 reinterpret the pronunciation of Defendant’s ENVII Mark in a manner that seeks to
                        3 avoid a finding of confusing similarity with respect to Plaintiff’s ENVY Mark,
                        4 Defendant’s use of Defendant’s ENVII Mark on Defendant’s Products has at all
                        5 times been in the manner shown in evidence of use that Defendant submitted with
                        6 the ‘244 Application (Exhibit E) as shown on the left below. A true and correct
                        7 copy of the manner in which Plaintiff uses Plaintiff’s ENVY Mark from Exhibit A
                        8 is shown on the right below:
                        9
                     10                       Defendant’s Use                      Plaintiff’s Use
                     11
                     12
                     13
                     14
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                     20
                     21            35.   Plaintiff is damaged by Defendant's unauthorized use of Defendant’s
                     22 ENVII Mark in connection with Defendant’s Goods and Services because it is
                     23 similar to and so resembles Plaintiff’s previously used and not abandoned ENVY
                     24 Marks, and the goods and/or services of the corresponding thereto are related in
                     25 such a way that, it is likely that a potential consumer would be confused or mistaken
                     26 or deceived as to the source of the parties’ respective goods and/or services.
                     27            36.   Defendant's activities have irreparably harmed and, if not enjoined, will
                     28 continue to irreparably harm Plaintiff and the long-used ENVY Marks. Defendant's

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                        1 activities have irreparably harmed, and if not enjoined, will continue to irreparably
                        2 harm the general public who has an inherent interest in being free from confusion,
                        3 mistake, and deception.
                        4
                        5                             FIRST CLAIM FOR RELIEF
                        6                COUNTERFEITING IN VIOLATION OF FEDERAL LAW
                        7                                 (15 U.S.C. § 1114(1)(a))
                        8          37.    Each of the above paragraphs of this complaint are incorporated by
                        9 reference as part of this claim.
                     10            38.    The conduct of Defendant constitutes the knowing use of a counterfeit
                     11 mark in violation of 15 U.S.C. § 1114(1)(a).
                     12            39.    Defendant has used and is using Defendant’s ENVII Mark in
                     13 connection with the advertising and selling of products in this district in such a
                     14 manner as to create a likelihood of confusion, mistake, or deception among actual
                     15 and prospective consumers, and said acts have damaged and impaired that part of
                     16 goodwill symbolized by Plaintiff s Mark, to Plaintiff's immediate and irreparable
                     17 damage.
                     18            40.    Defendant's unauthorized use of a spurious mark that is virtually
                     19 identical to Plaintiff’s previously registered mark in the manner alleged constitutes
                     20 trademark counterfeiting within the meaning of 15 U.S.C. §1114(1)(a), entitling
                     21 Plaintiff to remedies pursuant to Section 35 of the Trademark Act of 1946, 15
                     22 U.S.C. § 1117, including treble damages, and including statutory damages.
                     23            41.    Defendant had actual knowledge of Plaintiff's exclusive right to use
                     24 Plaintiffs Mark when it engaged in the conduct complained of herein. Thus,
                     25 Defendant has willfully and deliberately engaged in the aforesaid acts with intent to
                     26 injure Plaintiff and to deceive the public.
                     27            42.    Defendant's acts of infringement have caused Plaintiff irreparable
                     28 injury and loss of reputation. Unless enjoined by this Court, Defendant will continue

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                        1 these acts of infringement to Plaintiff's immediate and irreparable damage.
                        2          43.    As a direct and proximate result of the conduct of Defendant, the
                        3 Defendant has been unjustly enriched and Plaintiff has been damaged in an amount
                        4 subject to proof at trial, but in excess of the jurisdictional minimum of this tribunal.
                        5          44.    Plaintiff has no adequate remedy at law and is entitled to a preliminary
                        6 and permanent injunction enjoining Defendant and all of those acting in concert
                        7 with Defendant from using, infringing upon or counterfeiting the trademarks owned
                        8 by Plaintiff.
                        9          45.    As a further direct and proximate result of the conduct of Defendant,
                     10 and this being an exceptional case pursuant to 15 U.S.C. § 1117, Plaintiff seeks
                     11 Defendant’s profits, damages sustained by Plaintiff, the costs of this action,
                     12 reasonable attorney’s fees, treble damages, an enhanced accounting, statutory
                     13 damages upon election, and prejudgment interest.
                     14
                     15                              SECOND CLAIM FOR RELIEF
                     16                       FEDERAL TRADEMARK INFRINGEMENT
                     17                                      (15 U.S.C. § 1114)
                     18            46.    Each of the above paragraphs of this complaint are incorporated by
                     19 reference as part of this claim.
                     20            47.    Plaintiff’s ENVY Mark is distinctive and entitled to a broad scope of
                     21 protection as evidenced by, among other things, the registration on the Principal
                     22 Register of the U.S. Patent and Trademark Office.
                     23            48.    Defendant’s ENVII Mark is identical to Plaintiff’s ENVY Mark in
                     24 appearance, sound, meaning and commercial impression.
                     25            49.    The goods and services of both Plaintiff and Defendant are sold
                     26 through the same channels of trade, including, without limitation, the internet.
                     27            50.    The goods and services of Plaintiff and Defendant are targeted toward
                     28 the same end consumers, including, without limitation, consumers of electronic

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                        1 cigarette products.
                        2          51.    Defendant’s unauthorized use of Defendant’s ENVII Mark in interstate
                        3 commerce in connection with Defendant’s Goods and Services is likely to cause
                        4 confusion, including, without limitation, the mistaken belief that Defendant's Goods
                        5 and Services emanate from, are sponsored by, or are authorized by Plaintiff, when
                        6 they are not.
                        7          52.    The above-described acts of Defendant constitute infringement of a
                        8 registered mark in violation of 15 U.S.C. § 1114 in that Defendant has used in
                        9 connection with Defendant’s Good and Services a mark which is likely to cause
                     10 confusion or mistake or to deceive the public into believing that Defendant’s Goods
                     11 and Services are authorized or sponsored by, or are affiliated with Plaintiff, when
                     12 they are not, and has caused such goods and services to enter into interstate
                     13 commerce.
                     14            53.    Plaintiff has been damaged and is likely to be damaged in the future by
                     15 Defendant’s infringement by reason of the likelihood that those who come into
                     16 contact with Defendant’s unauthorized use of Defendant’s ENVII Mark will be
                     17 confused as to the source, sponsorship, or affiliation of Defendant’s Goods and
                     18 Services and will mistakenly believe that Defendant’s Goods and Services are
                     19 affiliated with Plaintiff, when they are not. Plaintiff
                     20            54.    On information and belief, Defendant has unfairly profited from the
                     21 actions alleged herein and will continue to be unjustly enriched and until such
                     22 conduct is enjoined.
                     23            55.    By reason of Defendant’s acts alleged herein, Plaintiff has and will
                     24 continue to suffer damage to his business reputation and goodwill.
                     25            56.    By reason of Defendant’s acts alleged herein, Plaintiff has suffered and
                     26 will continue to suffer irreparable harm unless and until Defendant’s conduct is
                     27 enjoined.
                     28 / / /

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                        1          57.   Defendant’s conduct has been intentional, willful, and in conscious
                        2 disregard of Plaintiff’s rights, with malice and oppression, and this being an
                        3 exceptional case within the meaning of 15 U.S.C. § 1117, Plaintiff seeks
                        4 Defendant’s profits, damages sustained by Plaintiff, the costs of this action,
                        5 reasonable attorney’s fees, treble damages, an enhanced accounting, statutory
                        6 damages upon election, and prejudgment interest.
                        7
                        8                             THIRD CLAIM FOR RELIEF
                        9                   FEDERAL FALSE DESIGNATION OF ORIGIN
                     10                                    (15 U.S.C. § 1125(a))
                     11            58.   Each of the above paragraphs of this complaint are incorporated by
                     12 reference as part of this claim.
                     13            59.   Defendant's use in interstate commerce of Defendant’s ENVII Mark,
                     14 trade name and domain name is likely to cause confusion, or to cause mistake, or to
                     15 deceive the relevant public that Defendant's Goods and Services are authorized,
                     16 sponsored or approved by or are affiliated with Plaintiff when they are not.
                     17            60.   The   above-described    acts     of   Defendant   constitute   trademark
                     18 infringement of Plaintiff’s ENVY Mark and false designation of origin in violation
                     19 of 15 U.S.C. § 1125(a), entitling Plaintiff to relief.
                     20            61.   Defendant seeks to unfairly profit from the actions alleged herein.
                     21            62.   By reason of Defendant's acts alleged herein, Plaintiff has suffered
                     22 damage to the goodwill associated with Plaintiff’s ENVY Mark.
                     23            63.   Defendant's activities have irreparably harmed and, if not enjoined, will
                     24 continue to irreparably harm Plaintiff and its long-used ENVY Marks.
                     25            64.   Defendant's activities have irreparably harmed, and if not enjoined, will
                     26 continue to irreparably harm the general public who has an interest in being free
                     27 from confusion, mistake, and deception.
                     28 / / /

A Professional Corporation
                             COMPLAINT                                14
               Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 16 of 165 Page ID #:16


                        1          65.   By reason of Defendant's acts alleged herein, Plaintiff's remedy at law
                        2 is not adequate to compensate for the injuries inflicted by Defendant. Accordingly,
                        3 Plaintiff is entitled to preliminary and permanent injunctive relief pursuant to 15
                        4 U.S.C. § 1116.
                        5          66.   By reason of Defendant's willful acts, as a further direct and proximate
                        6 result of the conduct of Defendant, and this being an exceptional case pursuant to 15
                        7 U.S.C. § 1117, Plaintiff seeks Defendant’s profits, damages sustained by Plaintiff,
                        8 the costs of this action, reasonable attorney’s fees, treble damages, an enhanced
                        9 accounting and statutory damages upon election.
                     10
                     11                             FOURTH CLAIM FOR RELIEF
                     12            CALIFORNIA COMMON LAW TRADEMARK INFRINGEMENT
                     13                                 (California Common Law)
                     14            67.   Each of the above paragraphs of this complaint are incorporated by
                     15 reference as part of this claim.
                     16            68.   The acts of Defendant complained of herein constitute trademark
                     17 infringement in violation of the common law of California. Defendant has used in
                     18 commerce, and continues to use in commerce, Defendant’s ENVII Mark, trade name
                     19 and domain name in connection with the promotion and sale of Defendant’s Goods
                     20 and Services and the operation of a website.
                     21            69.   Defendant's use in commerce is likely to cause confusion or mistake or
                     22 to deceive as to the source of origin.
                     23            70.   On information and belief, Defendant, with full knowledge of
                     24 Plaintiff’s rights in Plaintiff’s ENVY Mark, and of the valuable goodwill associated
                     25 therewith, has committed the acts alleged herein willfully, with the intent to trade
                     26 on, or in complete disregard of, Plaintiff’s goodwill and the goodwill associated
                     27 with Plaintiff’s trademarks.
                     28 / / /

A Professional Corporation
                             COMPLAINT                               15
               Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 17 of 165 Page ID #:17


                        1           71.   The   above-described    acts     of   Defendant   constitute   trademark
                        2 infringement in violation of the laws of the State of California, entitling Plaintiff to
                        3 relief.
                        4           72.   Defendant seeks to unfairly profit from the actions alleged herein.
                        5           73.   By reason of Defendant's acts alleged herein, Plaintiff has suffered
                        6 damage to the goodwill associated with Plaintiff’s ENVY Mark and has suffered
                        7 irreparable harm.
                        8           74.   As a result of the foregoing alleged actions, Defendant has been
                        9 unjustly enriched, and Plaintiff has been injured and damaged. Unless the foregoing
                     10 alleged actions of Defendant are enjoined, Plaintiff will continue to suffer
                     11 irreparable harm, injury and damages.
                     12             75.   As a result of Defendant’s acts, Plaintiffs have been damaged in an
                     13 amount not as yet determined or ascertainable. As a direct and proximate result of
                     14 Defendant’s acts, Defendant has obtained and continues to obtain gains, profits, and
                     15 advantages, which will be proven at trial.
                     16
                     17                                  REQUEST FOR RELIEF
                     18             NOW THEREFORE, Plaintiff respectfully requests judgment against
                     19 Defendants, and each of them, as follows:
                     20             1.    The Court enter judgment against Defendant stating that Defendant has
                     21 engaged in counterfeiting and violated and infringed the trademark rights of Plaintiff
                     22 in and to Plaintiff’s ENVY Mark in violation of 15 U.S.C. §§ 1114 and 1125(a);
                     23             2.    That this Court adjudge and declare that Defendant's actions alleged
                     24 herein constitute counterfeiting, federal trademark infringement, and California
                     25 common law trademark infringement;
                     26             3.    That Defendant be ordered to transfer to Plaintiff every domain name
                     27 Defendant owns which is identical or confusingly similar to Plaintiff’s ENVY Mark;
                     28             4.    That Defendant be ordered to account to Plaintiff for, and disgorge, all

A Professional Corporation
                             COMPLAINT                                 16
               Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 18 of 165 Page ID #:18


                        1 profits Defendant has derived, and pay all damages which Plaintiff has sustained, by
                        2 reason of the unlawful acts complained of herein;
                        3          5.    That Defendant be ordered to pay Plaintiff's reasonable attorney fees,
                        4 prejudgment interest, and costs of this action under 15 U.S.C. § 1117 and the
                        5 California common law;
                        6          6.    That Defendant and Defendant’s agents, partners, employees, and
                        7 representatives and all persons acting in concert or in privity with any of them be
                        8 temporarily and/or preliminarily and permanently enjoined from using Defendant’s
                        9 ENVII Mark or any other name, phrase or trademark confusingly similar to
                     10 Plaintiff’s ENVY Mark in connection with the sale and promotion of Defendant’s
                     11 Goods and Services or any other infringing product or service not authorized by
                     12 Plaintiff;
                     13            7.    That Defendant be required by mandatory injunction under 15 U.S.C.
                     14 Section 1118 and any other applicable statute or rule of common or decisional law to
                     15 permanently cease use and distribution of, transfer to Plaintiff and/or deliver up for
                     16 destruction, any and all labels, signs, packaging, products, advertising materials, web
                     17 pages, video, social media, or things of any kind used in their business that display
                     18 Defendant’s ENVII Mark or any other names, phrases or trademarks that are
                     19 confusingly similar to Plaintiff’s ENVY Mark used in connection or association with
                     20 Defendant’s Goods and Services;
                     21            8.    That Defendant be directed to file with this Court and serve upon
                     22 Plaintiff's counsel written reports under oath setting forth in detail the manner in
                     23 which Defendant and Defendant’s agents have complied with the mandatory
                     24 injunction;
                     25            9.    That Plaintiff be awarded all profits received by Defendant as a result of
                     26 their infringement of Plaintiff's trademark rights and that Defendant pay to Plaintiff
                     27 all damages sustained by Plaintiff due to Defendant’s infringement of Plaintiff's
                     28 rights, and that all such awards be trebled;

A Professional Corporation
                             COMPLAINT                                17
               Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 19 of 165 Page ID #:19


                        1          10.   That Plaintiff be awarded its attorneys' fees, expenses and costs incurred
                        2 in connection with the case;
                        3          11.   That Plaintiff be awarded prejudgment interest and such other relief as
                        4 may be appropriate.
                        5
                                                                  Respectfully submitted,
                        6
                             Dated: February 2, 2018              THE KINDER LAW GROUP, APC
                        7
                        8
                                                                  By:
                        9                                                  Brian P. Kinder, Esq.
                                                                           Attorney for Plaintiff
                     10                                                    Nicholas Van Burren
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A Professional Corporation
                             COMPLAINT                                18
               Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 20 of 165 Page ID #:20


                        1                                 DEMAND FOR JURY TRIAL
                        2
                        3          Pursuant to Fed. R. Civ. Proc. 38, Plaintiff demands a trial by jury on all
                        4 claims and issues triable to a jury in this action.
                        5
                                                                  Respectfully submitted,
                        6
                             Dated: February 2, 2018              THE KINDER LAW GROUP, APC
                        7
                        8
                                                                  By:
                        9                                                  Brian P. Kinder, Esq.
                                                                           Attorney for Plaintiff
                     10                                                    Nicholas Van Burren
                     11
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A Professional Corporation
                             COMPLAINT                                19
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                            EXHIBIT A
Envy eGo Battery - Envy®-Electronic-Cigarettes-Envy-E-liquid™-Envy...   https://envycig.com/shop/envy-vapors-ecig-accessories/evy-ego-battery/
             Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 22 of 165 Page ID #:22




                                                                                             ™




1 of 2                                                                                                                   1/30/2018, 11:04 AM
Envy eGo Battery - Envy®-Electronic-Cigarettes-Envy-E-liquid™-Envy...   https://envycig.com/shop/envy-vapors-ecig-accessories/evy-ego-battery/
             Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 23 of 165 Page ID #:23




2 of 2                                                                                                                   1/30/2018, 11:04 AM
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 24 of 165 Page ID #:24




                             EXHIBIT B
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 25 of 165 Page ID #:25
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 26 of 165 Page ID #:26




                            EXHIBIT C
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 27 of 165 Page ID #:27
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 28 of 165 Page ID #:28
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 29 of 165 Page ID #:29
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 30 of 165 Page ID #:30




                            EXHIBIT D
Envii                                                                             https://www.venvii.com/
         Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 31 of 165 Page ID #:31




1 of 4                                                                              1/30/2018, 11:06 AM
Envii                                                                                                       https://www.venvii.com/
         Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 32 of 165 Page ID #:32




                                              Baby Ness Pre-Order + Free Artisan RTA         FITT Starter Kit
                                                  (04/01/18 Expected Ship Date)                 Sold Out
                                                             $65.99




         *Limited Edition* FITT Starter Kit
                     Sold Out



                                                                                       Loch Ness/Terra Combo Kit
                                                                                            $39.99 $99.99




2 of 4                                                                                                          1/30/2018, 11:06 AM
Envii                                                                                  https://www.venvii.com/
         Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 33 of 165 Page ID #:33




               Artisan RTA                     Heretic                    Kilted RDA
                 $45.99                      from $84.99                   $59.99




3 of 4                                                                                   1/30/2018, 11:06 AM
Envii                                                                                             https://www.venvii.com/
         Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 34 of 165 Page ID #:34




                                                         Sign up to get the latest on sales, new releases and more …




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                                                         Powered by Shopify · Shopify Wholesale




4 of 4                                                                                               1/30/2018, 11:06 AM
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 35 of 165 Page ID #:35




                             EXHIBIT E
            Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 36 of 165 Page ID #:36


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PTO Form 1478 (Rev 09/2006)
OMB No. 0651-0009 (Exp 02/28/2018)


                                     Trademark/Service Mark Application, Principal Register
                                                                       Serial Number: 87170244
                                                                       Filing Date: 09/13/2016


                                                     The table below presents the data as entered.

                                          Input Field                                                                    Entered
             SERIAL NUMBER                                                              87170244
             MARK INFORMATION
             *MARK                                                                      ENVII
             STANDARD CHARACTERS                                                        YES
             USPTO-GENERATED IMAGE                                                      YES
             LITERAL ELEMENT                                                            ENVII
                                                                                        The mark consists of standard characters, without claim to any
             MARK STATEMENT
                                                                                        particular font, style, size, or color.
             REGISTER                                                                   Principal
             APPLICANT INFORMATION
             *OWNER OF MARK                                                             Envii, Inc.
             *STREET                                                                    11362 Glen Cove Dr.
             *CITY                                                                      Garden Grove
             *STATE
             (Required for U.S. applicants)
                                                                                        California

             *COUNTRY                                                                   United States
             *ZIP/POSTAL CODE
             (Required for U.S. applicants)
                                                                                        92843

             PHONE                                                                      714-273-7682
             EMAIL ADDRESS                                                              joser123123@gmail.com
             LEGAL ENTITY INFORMATION
             TYPE                                                                       corporation
             STATE/COUNTRY OF INCORPORATION                                             California
             GOODS AND/OR SERVICES AND BASIS INFORMATION
             INTERNATIONAL CLASS                                                        034
             *IDENTIFICATION                                                            Electronic cigarette boxes; Electronic cigarettes
             FILING BASIS                                                               SECTION 1(a)
                  FIRST USE ANYWHERE DATE                                               At least as early as 08/01/2016
                  FIRST USE IN COMMERCE DATE                                            At least as early as 08/01/2016
                                                                                        \\TICRS\EXPORT17\IMAGEOUT
                  SPECIMEN FILE NAME(S)
                                                                                        17\871\702\87170244\xml1\ RFA0003.JPG
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 37 of 165 Page ID #:37

                                        \\TICRS\EXPORT17\IMAGEOUT
                                        17\871\702\87170244\xml1\ RFA0004.JPG

                                        \\TICRS\EXPORT17\IMAGEOUT
                                        17\871\702\87170244\xml1\ RFA0005.JPG

                                        Three Specimens are provided: (1) black and yellow box
                                        displaying mark with electronic cigarette still within the
                                        interior of the box; (2) specimen shows the black anterior view
  SPECIMEN DESCRIPTION                  of the box with the interior box pulled out showing again the
                                        website, and (3) specimen shows the interior of the box
                                        holding the electronic cigarette next to the exterior box with
                                        displaying the mark.
ATTORNEY INFORMATION
NAME                                    David Yu
ATTORNEY DOCKET NUMBER                  ENVII WORD
FIRM NAME                               Ardent Law Group, P.C.
STREET                                  2301 Dupont Dr., Suite 510
CITY                                    Irvine
STATE                                   California
COUNTRY                                 United States
ZIP/POSTAL CODE                         92612
PHONE                                   9498639782
FAX                                     9498639783
EMAIL ADDRESS                           dyu@ardentlawgroup.com
AUTHORIZED TO COMMUNICATE VIA EMAIL     Yes
CORRESPONDENCE INFORMATION
NAME                                    David Yu
FIRM NAME                               Ardent Law Group, P.C.
STREET                                  2301 Dupont Dr., Suite 510
CITY                                    Irvine
STATE                                   California
COUNTRY                                 United States
ZIP/POSTAL CODE                         92612
PHONE                                   9498639782
FAX                                     9498639783
*EMAIL ADDRESS                          dyu@ardentlawgroup.com;aking@ardentlawgroup.com
*AUTHORIZED TO COMMUNICATE VIA EMAIL    Yes
FEE INFORMATION
APPLICATION FILING OPTION               TEAS RF
NUMBER OF CLASSES                       1
FEE PER CLASS                           275
*TOTAL FEE DUE                          275
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 38 of 165 Page ID #:38


*TOTAL FEE PAID                         275
SIGNATURE INFORMATION
SIGNATURE                               /David Yu/
SIGNATORY'S NAME                        David Yu
SIGNATORY'S POSITION                    Attorney of Record, California Bar Member
SIGNATORY'S PHONE NUMBER                9498639782
DATE SIGNED                             09/13/2016
            Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 39 of 165 Page ID #:39

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OMB No. 0651-0009 (Exp 02/28/2018)




                                           Trademark/Service Mark Application, Principal Register

                                                                       Serial Number: 87170244
                                                                       Filing Date: 09/13/2016
To the Commissioner for Trademarks:
MARK: ENVII (Standard Characters, see mark)
The literal element of the mark consists of ENVII.
The mark consists of standard characters, without claim to any particular font, style, size, or color.

The applicant, Envii, Inc., a corporation of California, having an address of
   11362 Glen Cove Dr.
   Garden Grove, California 92843
   United States
   714-273-7682(phone)
   joser123123@gmail.com (not authorized)

requests registration of the trademark/service mark identified above in the United States Patent and Trademark Office on the Principal Register
established by the Act of July 5, 1946 (15 U.S.C. Section 1051 et seq.), as amended, for the following:

For specific filing basis information for each item, you must view the display within the Input Table.
    International Class 034: Electronic cigarette boxes; Electronic cigarettes

In International Class 034, the mark was first used by the applicant or the applicant's related company or licensee or predecessor in interest at
least as early as 08/01/2016, and first used in commerce at least as early as 08/01/2016, and is now in use in such commerce. The applicant is
submitting one(or more) specimen(s) showing the mark as used in commerce on or in connection with any item in the class of listed
goods/services, consisting of a(n) Three Specimens are provided: (1) black and yellow box displaying mark with electronic cigarette still within
the interior of the box; (2) specimen shows the black anterior view of the box with the interior box pulled out showing again the website, and (3)
specimen shows the interior of the box holding the electronic cigarette next to the exterior box with displaying the mark..
Specimen File1
Specimen File2
Specimen File3


The applicant's current Attorney Information:
    David Yu of Ardent Law Group, P.C.         2301 Dupont Dr., Suite 510
    Irvine, California 92612
    United States
    9498639782(phone)
    9498639783(fax)
    dyu@ardentlawgroup.com (authorized)
The attorney docket/reference number is ENVII WORD.
The applicant's current Correspondence Information:
     David Yu
     Ardent Law Group, P.C.
     2301 Dupont Dr., Suite 510
     Irvine, California 92612
     9498639782(phone)
     9498639783(fax)
     dyu@ardentlawgroup.com;aking@ardentlawgroup.com (authorized)
E-mail Authorization: I authorize the USPTO to send e-mail correspondence concerning the application to the applicant or applicant's attorney
at the e-mail address provided above. I understand that a valid e-mail address must be maintained and that the applicant or the applicant's
attorney must file the relevant subsequent application-related submissions via the Trademark Electronic Application System (TEAS). Failure to
do so will result in an additional processing fee of $50 per international class of goods/services.
        Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 40 of 165 Page ID #:40


A fee payment in the amount of $275 has been submitted with the application, representing payment for 1 class(es).

                                                                     Declaration

The signatory believes that: if the applicant is filing the application under 15 U.S.C. § 1051(a), the applicant is the owner of the
trademark/service mark sought to be registered; the applicant is using the mark in commerce on or in connection with the goods/services in the
application; the specimen(s) shows the mark as used on or in connection with the goods/services in the application; and/or if the applicant filed
an application under 15 U.S.C. § 1051(b), § 1126(d), and/or § 1126(e), the applicant is entitled to use the mark in commerce; the applicant has a
bona fide intention, and is entitled, to use the mark in commerce on or in connection with the goods/services in the application. The signatory
believes that to the best of the signatory's knowledge and belief, no other persons, except, if applicable, concurrent users, have the right to use the
mark in commerce, either in the identical form or in such near resemblance as to be likely, when used on or in connection with the goods/services
of such other persons, to cause confusion or mistake, or to deceive. The signatory being warned that willful false statements and the like are
punishable by fine or imprisonment, or both, under 18 U.S.C. § 1001, and that such willful false statements and the like may jeopardize the
validity of the application or any registration resulting therefrom, declares that all statements made of his/her own knowledge are true and all
statements made on information and belief are believed to be true.

Declaration Signature

Signature: /David Yu/ Date: 09/13/2016
Signatory's Name: David Yu
Signatory's Position: Attorney of Record, California Bar Member
RAM Sale Number: 87170244
RAM Accounting Date: 09/14/2016

Serial Number: 87170244
Internet Transmission Date: Tue Sep 13 20:40:32 EDT 2016
TEAS Stamp: USPTO/BAS-XXX.XXX.XXX.XXX-20160913204032
119947-87170244-55027945fc0e0b6c51b70468
34d3fd542c4e26ee5ed45cb43069c9c6a9de4ebc
ae-CC-6213-20160913201930492565
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Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 44 of 165 Page ID #:44
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 45 of 165 Page ID #:45




                             EXHIBIT F
       Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 46 of 165 Page ID #:46


      Generated on: This page was generated by TSDR on 2017-10-03 14:01:03 EDT
               Mark: ENVII




  US Serial Number: 87170244                                                      Application Filing Sep. 13, 2016
                                                                                              Date:
  Filed as TEAS RF: Yes                                                         Currently TEAS RF: Yes
            Register: Principal
          Mark Type: Trademark
     TM5 Common Status                                                         LIVE/APPLICATION/Under Examination
            Descriptor:
                                                                               The trademark application has been accepted by the Office (has met the
                                                                               minimum filing requirements) and that this application has been assigned to
                                                                               an examiner.


              Status: A final Office action refusing registration has been sent (issued) because the applicant neither satisfied nor overcame all requirements
                      and/or refusals previously raised. The applicant may respond by filing (1) a request for reconsideration; and/or (2) an appeal to the
                      Trademark Trial and Appeal Board. To view all documents in this file, click on the Trademark Document Retrieval link at the top of this
                      page.
        Status Date: Jul. 04, 2017



                                                                 Mark Information
         Mark Literal ENVII
          Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Electronic cigarette boxes; Electronic cigarettes
        International 034 - Primary Class                                             U.S Class(es): 002, 008, 009, 017
           Class(es):
       Class Status: ACTIVE
               Basis: 1(a)
           First Use: Aug. 01, 2016                                              Use in Commerce: Aug. 01, 2016

                                                     Basis Information (Case Level)
               Filed Use: Yes                                      Currently Use: Yes                                        Amended Use: No
               Filed ITU: No                                       Currently ITU: No                                         Amended ITU: No
               Filed 44D: No                                       Currently 44D: No                                         Amended 44D: No
               Filed 44E: No                                       Currently 44E: No                                         Amended 44E: No
               Filed 66A: No                                       Currently 66A: No
         Filed No Basis: No                                  Currently No Basis: No

                                                     Current Owner(s) Information
       Owner Name: Envii, Inc.
          Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 47 of 165 Page ID #:47

     Owner Address: 11362 Glen Cove Dr.
                    Garden Grove, CALIFORNIA UNITED STATES 92843
   Legal Entity Type: CORPORATION                                     State or Country CALIFORNIA
                                                                     Where Organized:

                                      Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: David Yu                                          Docket Number: ENVII WORD
    Attorney Primary dyu@ardentlawgroup.com                             Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                  Correspondent
      Correspondent DAVID YU
      Name/Address: ARDENT LAW GROUP, P.C.
                    2301 DUPONT DR., SUITE 510
                    IRVINE, CALIFORNIA UNITED STATES 92612
                Phone: 9498639782                                                    Fax: 9498639783
   Correspondent e- dyu@ardentlawgroup.com aking@ardentlawgroup       Correspondent e- Yes
              mail: .com                                               mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                          Proceeding
   Date              Description
                                                                                                          Number
Jul. 04, 2017     NOTIFICATION OF FINAL REFUSAL EMAILED
Jul. 04, 2017     FINAL REFUSAL E-MAILED
Jul. 04, 2017     FINAL REFUSAL WRITTEN                                                                 76419
Jun. 17, 2017     TEAS/EMAIL CORRESPONDENCE ENTERED                                                     88889
Jun. 16, 2017     CORRESPONDENCE RECEIVED IN LAW OFFICE                                                 88889
Jun. 16, 2017     TEAS RESPONSE TO OFFICE ACTION RECEIVED
Dec. 16, 2016     NOTIFICATION OF NON-FINAL ACTION E-MAILED                                             6325
Dec. 16, 2016     NON-FINAL ACTION E-MAILED                                                             6325
Dec. 16, 2016     NON-FINAL ACTION WRITTEN                                                              76419
Dec. 15, 2016     ASSIGNED TO EXAMINER                                                                  76419
Sep. 20, 2016     NOTICE OF PSEUDO MARK E-MAILED
Sep. 17, 2016     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Sep. 16, 2016     NEW APPLICATION ENTERED IN TRAM

                                           TM Staff and Location Information
                                                              TM Staff Information
          TM Attorney: FRENCH, CURTIS W                                     Law Office LAW OFFICE 115
                                                                            Assigned:
                                                                  File Location
   Current Location: TMO LAW OFFICE 115 - EXAMINING                   Date in Location: Jul. 04, 2017
                     ATTORNEY ASSIGNED
           Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 48 of 165 Page ID #:48



From:                                       TMDesignCodeComments
Sent:                                       Tuesday, September 20, 2016 00:23 AM
To:                                         dyu@ardentlawgroup.com
Cc:                                         aking@ardentlawgroup.com
Subject:                                    Official USPTO Notice of Pseudo Mark: U.S. Trademark SN: 87170244: ENVII: Docket/Reference No. ENVII WORD

Docket/Reference Number:                    ENVII WORD


The USPTO may assign pseudo marks, as appropriate, to new applications to assist in searching the USPTO database for conflicting marks. They have no legal significance
and will not appear on the registration certificate.

A PSEUDO MARK may be assigned to marks that include words, numbers, compound words, symbols, or acronyms that can have alternative spellings or meanings. For
example, if the mark comprises the words 'YOU ARE' surrounded by a design of a box, the pseudo mark field in the USPTO database would display the mark as 'YOU ARE
SQUARE'. A mark filed as 'URGR8' would receive a pseudo mark of 'YOU ARE GREAT'.

Response to this notice is not required; however, to suggest additions or changes to the pseudo mark assigned to your mark, please e-mail
TMDesignCodeComments@USPTO.GOV. You must reference your application serial number within your request. The USPTO will review the proposal and update the
record, if appropriate. For questions, please call 1-800-786-9199 to speak to a Customer Service representative.

The USPTO will not send any further response to your e-mail. Check TESS in approximately two weeks to see if the requested changes have been entered. Requests deemed
unnecessary or inappropriate will not be entered.

To view this notice and other documents for this application on-line, go to http://tdr.uspto.gov/search.action?sn=87170244. NOTE: This notice will only be available on-line the
next business day after receipt of this e-mail.

Pseudo marks assigned to the referenced serial number are listed below.

PSEUDO MARK:

ENVY
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 49 of 165 Page ID #:49




                            EXHIBIT G
       Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 50 of 165 Page ID #:50


      Generated on: This page was generated by TSDR on 2017-09-18 19:23:24 EDT
               Mark: ENVII




  US Serial Number: 87170244                                                      Application Filing Sep. 13, 2016
                                                                                              Date:
  Filed as TEAS RF: Yes                                                         Currently TEAS RF: Yes
            Register: Principal
          Mark Type: Trademark
              Status: A final Office action refusing registration has been sent (issued) because the applicant neither satisfied nor overcame all requirements
                      and/or refusals previously raised. The applicant may respond by filing (1) a request for reconsideration; and/or (2) an appeal to the
                      Trademark Trial and Appeal Board. To view all documents in this file, click on the Trademark Document Retrieval link at the top of this
                      page.
        Status Date: Jul. 04, 2017



                                                                 Mark Information
         Mark Literal ENVII
          Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Electronic cigarette boxes; Electronic cigarettes
        International 034 - Primary Class                                             U.S Class(es): 002, 008, 009, 017
           Class(es):
       Class Status: ACTIVE
               Basis: 1(a)
           First Use: Aug. 01, 2016                                              Use in Commerce: Aug. 01, 2016

                                                     Basis Information (Case Level)
               Filed Use: Yes                                      Currently Use: Yes                                        Amended Use: No
               Filed ITU: No                                       Currently ITU: No                                         Amended ITU: No
               Filed 44D: No                                       Currently 44D: No                                         Amended 44D: No
               Filed 44E: No                                       Currently 44E: No                                         Amended 44E: No
               Filed 66A: No                                       Currently 66A: No
         Filed No Basis: No                                  Currently No Basis: No

                                                     Current Owner(s) Information
       Owner Name: Envii, Inc.
    Owner Address: 11362 Glen Cove Dr.
                   Garden Grove, CALIFORNIA 92843
                   UNITED STATES
  Legal Entity Type: CORPORATION                                                   State or Country CALIFORNIA
                                                                                  Where Organized:
          Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 51 of 165 Page ID #:51


                                      Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: David Yu                                          Docket Number: ENVII WORD
    Attorney Primary dyu@ardentlawgroup.com                             Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                  Correspondent
      Correspondent DAVID YU
      Name/Address: ARDENT LAW GROUP, P.C.
                    2301 DUPONT DR., SUITE 510
                    IRVINE, CALIFORNIA 92612
                    UNITED STATES
                Phone: 9498639782                                                    Fax: 9498639783
   Correspondent e- dyu@ardentlawgroup.com aking@ardentlawgroup       Correspondent e- Yes
              mail: .com                                               mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                          Proceeding
   Date              Description
                                                                                                          Number
Jul. 04, 2017     NOTIFICATION OF FINAL REFUSAL EMAILED
Jul. 04, 2017     FINAL REFUSAL E-MAILED
Jul. 04, 2017     FINAL REFUSAL WRITTEN                                                                 76419
Jun. 17, 2017     TEAS/EMAIL CORRESPONDENCE ENTERED                                                     88889
Jun. 16, 2017     CORRESPONDENCE RECEIVED IN LAW OFFICE                                                 88889
Jun. 16, 2017     TEAS RESPONSE TO OFFICE ACTION RECEIVED
Dec. 16, 2016     NOTIFICATION OF NON-FINAL ACTION E-MAILED                                             6325
Dec. 16, 2016     NON-FINAL ACTION E-MAILED                                                             6325
Dec. 16, 2016     NON-FINAL ACTION WRITTEN                                                              76419
Dec. 15, 2016     ASSIGNED TO EXAMINER                                                                  76419
Sep. 20, 2016     NOTICE OF PSEUDO MARK E-MAILED
Sep. 17, 2016     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Sep. 16, 2016     NEW APPLICATION ENTERED IN TRAM

                                           TM Staff and Location Information
                                                              TM Staff Information
          TM Attorney: FRENCH, CURTIS W                                     Law Office LAW OFFICE 115
                                                                            Assigned:
                                                                  File Location
   Current Location: TMO LAW OFFICE 115 - EXAMINING                   Date in Location: Jul. 04, 2017
                     ATTORNEY ASSIGNED
        Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 52 of 165 Page ID #:52


To:                   Envii, Inc. (dyu@ardentlawgroup.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87170244 - ENVII - ENVII WORD
Sent:                 12/16/2016 1:21:41 PM
Sent As:              ECOM115@USPTO.GOV
Attachments:          Attachment - 1
                      Attachment - 2

                                   UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                         OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

         U.S. APPLICATION SERIAL NO. 87170244

         MARK: ENVII
                                                                            *87170244*
         CORRESPONDENT ADDRESS:
           DAVID YU                                                         CLICK HERE TO RESPOND TO THIS LETTER:
           ARDENT LAW GROUP, P.C.                                           http://www.uspto.gov/trademarks/teas/response_forms.jsp
           2301 DUPONT DR., SUITE 510
           IRVINE, CA 92612                                                 VIEW YOUR APPLICATION FILE

         APPLICANT: Envii, Inc.

         CORRESPONDENT’S REFERENCE/DOCKET NO :
           ENVII WORD
         CORRESPONDENT E-MAIL ADDRESS:
           dyu@ardentlawgroup.com



                                                             OFFICE ACTION

                                    STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW.

ISSUE/MAILING DATE: 12/16/2016


The referenced application has been reviewed by the assigned trademark examining attorney. Applicant must respond timely and completely to
the issue(s) below. 15 U.S.C. §1062(b); 37 C.F.R. §§2.62(a), 2.65(a); TMEP §§711, 718.03.

Summary of Issues that Applicant Must Address

      Refusal under Section 2(d) – Likelihood of Confusion

Refusal under Section 2(d) – Likelihood of Confusion
Registration of the applied-for mark is refused because of a likelihood of confusion with the mark in U.S. Registration No. 4717824. Trademark
Act Section 2(d), 15 U.S.C. §1052(d); see TMEP §§1207.01 et seq. See the attached registration.

Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a potential consumer
would be confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant. See 15 U.S.C. §1052(d).
A determination of likelihood of confusion under Section 2(d) is made on a case-by case basis and the factors set forth in In re E. I. du Pont de
Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973) aid in this determination. Citigroup Inc. v. Capital City Bank Grp.,
Inc., 637 F.3d 1344, 1349, 98 USPQ2d 1253, 1256 (Fed. Cir. 2011) (citing On-Line Careline, Inc. v. Am. Online, Inc., 229 F.3d 1080, 1085, 56
USPQ2d 1471, 1474 (Fed. Cir. 2000)). Not all the du Pont factors, however, are necessarily relevant or of equal weight, and any one of the
factors may control in a given case, depending upon the evidence of record. Citigroup Inc. v. Capital City Bank Grp., Inc., 637 F.3d at 1355, 98
USPQ2d at 1260; In re Majestic Distilling Co., 315 F.3d 1311, 1315, 65 USPQ2d 1201, 1204 (Fed. Cir. 2003); see In re E. I. du Pont de
Nemours & Co., 476 F.2d at 1361-62, 177 USPQ at 567.
       Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 53 of 165 Page ID #:53


In this case, the following factors are the most relevant: similarity of the marks, similarity and nature of the goods and/or services, and
similarity of the trade channels of the goods and/or services. See In re Viterra Inc., 671 F.3d 1358, 1361-62, 101 USPQ2d 1905, 1908 (Fed. Cir.
2012); In re Dakin’s Miniatures Inc. , 59 USPQ2d 1593, 1595-96 (TTAB 1999); TMEP §§1207.01 et seq.

Applicant seeks to register the proposed mark ENVII. The cited registration is for the mark ENVY. The marks are essentially phonetic
equivalents and thus sound similar. Similarity in sound alone may be sufficient to support a finding that the marks are confusingly similar. In re
White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB 1988); see In re 1st USA Realty Prof’ls, Inc., 84 USPQ2d 1581, 1586 (TTAB 2007); TMEP
§1207.01(b)(iv).

The goods and/or services of the parties need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v.
Am. Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894,
1898 (Fed. Cir. 2000) (“[E]ven if the goods in question are different from, and thus not related to, one another in kind, the same goods can be
related in the mind of the consuming public as to the origin of the goods.”); TMEP §1207.01(a)(i).

The respective goods and/or services need only be “related in some manner and/or if the circumstances surrounding their marketing [be] such
that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v. Triumph
Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715, 1724
(TTAB 2007)); TMEP §1207.01(a)(i).

Applicant seeks to register its mark for “Electronic cigarette boxes; Electronic cigarettes.” Registrant’s goods are “electronic hookahs;
smokeless cigar vaporizer pipes; and smokeless cigarette vaporizer pipe.” These goods are closely related because they are electronic cigarettes.

The overriding concern is not only to prevent buyer confusion as to the source of the goods and/or services, but to protect the registrant from
adverse commercial impact due to use of a similar mark by a newcomer. See In re Shell Oil Co., 992 F.2d 1204, 1208, 26 USPQ2d 1687, 1690
(Fed. Cir. 1993). Therefore, any doubt regarding a likelihood of confusion determination is resolved in favor of the registrant. TMEP
§1207.01(d)(i); see Hewlett-Packard Co. v. Packard Press, Inc., 281 F.3d 1261, 1265, 62 USPQ2d 1001, 1003 (Fed. Cir. 2002); In re Hyper
Shoppes (Ohio), Inc., 837 F.2d 463, 464-65, 6 USPQ2d 1025, 1026 (Fed. Cir. 1988).

Although applicant’s mark has been refused registration, applicant may respond to the refusal(s) by submitting evidence and arguments in
support of registration.

If applicant has questions regarding this Office action, please telephone or e-mail the assigned trademark examining attorney. All relevant e-
mail communications will be placed in the official application record; however, an e-mail communication will not be accepted as a response to
this Office action and will not extend the deadline for filing a proper response. See 37 C.F.R. §§2.62(c), 2.191; TMEP §§304.01-.02, 709.04-
.05. Further, although the trademark examining attorney may provide additional explanation pertaining to the refusal(s) and/or requirement(s) in
this Office action, the trademark examining attorney may not provide legal advice or statements about applicant’s rights. See TMEP §§705.02,
709.06.




TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application
online using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to
Office actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address;
and (3) agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b),
2.23(b); TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of
$50 per international class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain
situations, TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone or e-
mail without incurring this additional fee.



                                             /Curtis French/
                                             Trademark Attorney
                                             Law Office 115
                                             571-272-9472
        Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 54 of 165 Page ID #:54

                                                curtis.french@uspto.gov

TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.

TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 55 of 165 Page ID #:55
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 56 of 165 Page ID #:56
        Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 57 of 165 Page ID #:57


To:                   Envii, Inc. (dyu@ardentlawgroup.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87170244 - ENVII - ENVII WORD
Sent:                 12/16/2016 1:21:43 PM
Sent As:              ECOM115@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                ON 12/16/2016 FOR U.S. APPLICATION SERIAL NO. 87170244

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 12/16/2016 (or sooner if specified in the Office action). For information
regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the Trademark Electronic Application System
(TEAS) response form located at http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
from the USPTO rather than a private company solicitation. All official USPTO correspondence will be mailed only from the “United States
Patent and Trademark Office” in Alexandria, VA; or sent by e-mail from the domain “@uspto.gov.” For more information on how to handle
private company solicitations, see http://www.uspto.gov/trademarks/solicitation_warnings.jsp.
Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 58 of 165 Page ID #:58




                            EXHIBIT H
       Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 59 of 165 Page ID #:59


      Generated on: This page was generated by TSDR on 2017-09-18 20:03:09 EDT
               Mark: ENVII




  US Serial Number: 87170244                                                      Application Filing Sep. 13, 2016
                                                                                              Date:
  Filed as TEAS RF: Yes                                                         Currently TEAS RF: Yes
            Register: Principal
          Mark Type: Trademark
              Status: A final Office action refusing registration has been sent (issued) because the applicant neither satisfied nor overcame all requirements
                      and/or refusals previously raised. The applicant may respond by filing (1) a request for reconsideration; and/or (2) an appeal to the
                      Trademark Trial and Appeal Board. To view all documents in this file, click on the Trademark Document Retrieval link at the top of this
                      page.
        Status Date: Jul. 04, 2017



                                                                 Mark Information
         Mark Literal ENVII
          Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Electronic cigarette boxes; Electronic cigarettes
        International 034 - Primary Class                                             U.S Class(es): 002, 008, 009, 017
           Class(es):
       Class Status: ACTIVE
               Basis: 1(a)
           First Use: Aug. 01, 2016                                              Use in Commerce: Aug. 01, 2016

                                                     Basis Information (Case Level)
               Filed Use: Yes                                      Currently Use: Yes                                        Amended Use: No
               Filed ITU: No                                       Currently ITU: No                                         Amended ITU: No
               Filed 44D: No                                       Currently 44D: No                                         Amended 44D: No
               Filed 44E: No                                       Currently 44E: No                                         Amended 44E: No
               Filed 66A: No                                       Currently 66A: No
         Filed No Basis: No                                  Currently No Basis: No

                                                     Current Owner(s) Information
       Owner Name: Envii, Inc.
    Owner Address: 11362 Glen Cove Dr.
                   Garden Grove, CALIFORNIA 92843
                   UNITED STATES
  Legal Entity Type: CORPORATION                                                   State or Country CALIFORNIA
                                                                                  Where Organized:
          Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 60 of 165 Page ID #:60


                                      Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: David Yu                                          Docket Number: ENVII WORD
    Attorney Primary dyu@ardentlawgroup.com                             Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                  Correspondent
      Correspondent DAVID YU
      Name/Address: ARDENT LAW GROUP, P.C.
                    2301 DUPONT DR., SUITE 510
                    IRVINE, CALIFORNIA 92612
                    UNITED STATES
                Phone: 9498639782                                                    Fax: 9498639783
   Correspondent e- dyu@ardentlawgroup.com aking@ardentlawgroup       Correspondent e- Yes
              mail: .com                                               mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                          Proceeding
   Date              Description
                                                                                                          Number
Jul. 04, 2017     NOTIFICATION OF FINAL REFUSAL EMAILED
Jul. 04, 2017     FINAL REFUSAL E-MAILED
Jul. 04, 2017     FINAL REFUSAL WRITTEN                                                                 76419
Jun. 17, 2017     TEAS/EMAIL CORRESPONDENCE ENTERED                                                     88889
Jun. 16, 2017     CORRESPONDENCE RECEIVED IN LAW OFFICE                                                 88889
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Dec. 16, 2016     NOTIFICATION OF NON-FINAL ACTION E-MAILED                                             6325
Dec. 16, 2016     NON-FINAL ACTION E-MAILED                                                             6325
Dec. 16, 2016     NON-FINAL ACTION WRITTEN                                                              76419
Dec. 15, 2016     ASSIGNED TO EXAMINER                                                                  76419
Sep. 20, 2016     NOTICE OF PSEUDO MARK E-MAILED
Sep. 17, 2016     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Sep. 16, 2016     NEW APPLICATION ENTERED IN TRAM

                                           TM Staff and Location Information
                                                              TM Staff Information
          TM Attorney: FRENCH, CURTIS W                                     Law Office LAW OFFICE 115
                                                                            Assigned:
                                                                  File Location
   Current Location: TMO LAW OFFICE 115 - EXAMINING                   Date in Location: Jul. 04, 2017
                     ATTORNEY ASSIGNED
            Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 61 of 165 Page ID #:61


Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)


                                                              Response to Office Action


                                                     The table below presents the data as entered.

                           Input Field                                                                       Entered
 SERIAL NUMBER                                          87170244
 LAW OFFICE ASSIGNED                                    LAW OFFICE 115
 MARK SECTION
 MARK                                                   https://tmng-al.uspto.gov/resting2/api/img/87170244/large
 LITERAL ELEMENT                                        ENVII
 STANDARD CHARACTERS                                    YES
 USPTO-GENERATED IMAGE                                  YES
 MARK STATEMENT                                         The mark consists of standard characters, without claim to any particular font style, size or color.
 ARGUMENT(S)
 IN THE UNITED STATES PATENT AND TRADEMARK OFFICE Applicant: Envii, Inc. Serial No: 87170244 Mark: ENVII Class: 34
 Filed: September13, 2016 RESPONSE TO OFFICE ACTION DATED DECEMBER 16, 2017 REMARKS I. Likelihood of Confusion Refusal
 Under Section 2(d) The Examining Attorney?s refusal to register Applicant?s mark under Section 2(d) of the Trademark Act is made on the
 basis that Applicant?s mark, ENVII, when used on or in connection with the identified goods, so resembles the mark ENVY in Registration
 No. 4717824, as to be likely to cause confusion, to cause mistake or to deceive. A likelihood of confusion may be said to exist only where (1)
 an applicant?s mark is similar to the cited mark in terms of sight, sound, or commercial impression, and (2) the applicant?s goods are so related
 to the goods associated with the cited mark, or the activities surrounding their respective marketing efforts are so similar, that confusion as to
 the source of the goods is likely. See In re E.I. DuPont de Nemours & Co., 476 F.2d 1357, 177 U.S.P.Q. 563 (C.C.P.A. 1973); In re Aug.
 Storck KG, 218 U.S.P.Q. 823 (T.T.A.B. 1983); In re Int?l Telephone & Telegraph Co., 197 U.S.P.Q. 910 (T.T.A.B 1978). Among the factors
 to be considered in the determination of likelihood of confusion under Section 2(d), the following are particularly pertinent: 1. the similarity or
 dissimilarity of the marks in their entireties as to appearance, sound, connotation and commercial impression; 2. the similarity or dissimilarity
 of, and nature of the goods or services described in an application or registration or in connection with which a prior mark is in use: 3. the
 market interface between the Applicant and Registrants; 4. the conditions under which, and the buyers to whom sales are made, i.e., ?impulse?
 vs. careful, sophisticated purchasing; 5. the number and nature of similar marks in use; and 6. the extent of potential confusion. No one factor
 is controlling. Each factor may, from case-to-case, play a dominant role. See In re E.I. DuPont de Nemours & Co., 476 F.2d 1357, 1360-62
 (C.C.P.A. 1973). Moreover, there is no mechanical test for determining likelihood of confusion. The question to be determined is not whether
 the actual goods or services are likely to be confused but, rather, whether there is a likelihood of confusion as to the source of the goods or
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      Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 62 of 165 Page ID #:62

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re Dayco Products-Eaglemotive Inc., 9 U.S.P.Q. 2d 1910 (TTAB 1988) (no likelihood of confusion found for IMPERIAL for automobiles and
structural parts and IMPERIAL for automotive products). III. Applicant?s Goods are Employed by Careful, Sophisticated Purchasers
Applicant?s products are for consumer who seek a more mature and sophisticated vaping experience. Applicant?s products for electronic
cigarettes or vaporizers generally retail for $50-$100. Attached as Exhibit 4 are various pages from Applicant?s website vapeenvii.com.
Registrant?s products are generally for entry level smokers. Registrant?s primary electronic cigarette is the Envy Nirvana Starter/Economy
Pack which is currently sold for $19.95. In fact, all products sold by Registrant online can be bought for $30.00 or less except for the Envy
Tactical Coil Rebuilding Kit which is not an electronic cigarette. Attached as Exhibit 5 is a list of Registrant?s products and its pricing from
Registrant?s website, envycig.com. Here, Applicant?s consumers are persons who are careful and sophisticated about what type of vaporizer
they will choose. ENVII offers a wide array of different vaporizers and electronic cigarettes because it understands that smokers can be very
particular. It provides at least sixteen different of flavored liquids to be inserted into the devices on its website. It also provides accessories for
replacement and customization. Applicant understands that the consumers in their market are particular and all have unique needs to be
satisfied. See Exhibit 3 for examples of ENVII?s products. Applicant?s consumers will likely go online to research its products and compare
them with other brands, because they want to purchase an item that will provide a particular vaping experience. As such, generally consumers
shopping for electronic cigarettes will not confused by the Applicant?s and Registrant?s mark. IV. There is No Evidence of Actual Source
Confusion Between Applicant and Registrant Significantly, Applicant?s service has been operational since 2016, and Applicant is unaware of
any instance of actual consumer confusion between the source of its own services and the source of Registrant?s former services. In fact,
Applicant was unaware of the existence of ENVY until receiving the USPTO Office Action responded to herein. V. In the Unlikely Event of
Actual Confusion, Such Confusion Would Be Strictly De Minimus. Should actual confusion occur, the extent of that confusion will be de
minimus and easily overcome. In the unlikely event that a consumer of Registrant?s e-cigarettes were to hear Applicant?s mark or see
Applicant?s mark out of context, they will seek out Applicant?s website believing it to identify Registrant?s source, that individual would
quickly realize that Applicant does not offer low-end smokeless electronic cigarettes and is engaged in a radically different electronic cigarette
business than Registrant?s business. Based on the foregoing, there is no likelihood of confusion between Applicant?s mark and the mark
contained in the cited registration. Therefore, Applicant respectfully requests that its application proceed to publication in the Official Gazette.
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The Examining Attorney is invited to contact the undersigned with any questions concerning this matter. CONCLUSION Applicant
respectfully submits that its application is now in condition for publication. The Examining Attorney is invited to contact the undersigned with
any questions concerning this matter. Respectfully submitted, Date: June 16, 2017 /s/ David Yu____________________ David Yu ARDENT
LAW GROUP, P.C. Attorney for Applicant
EVIDENCE SECTION
    EVIDENCE FILE NAME(S)

   ORIGINAL PDF FILE                          evi_1089288113-20170616132406467341_._2017-06-16_TM_Resp_to_OA__ENVII_word_.pdf
   CONVERTED PDF FILE(S)
   (59 pages)
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0002.JPG

                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0003.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0004.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0005.JPG

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                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0007.JPG
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                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0010.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0011.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0012.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0013.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0014.JPG

                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0015.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0016.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0017.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0018.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0019.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0020.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0021.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0022.JPG

                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0023.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0024.JPG
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                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0026.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0027.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0028.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0029.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0030.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0031.JPG
                                              \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0032.JPG
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                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0035.JPG

                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0036.JPG

                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0037.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0038.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0039.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0040.JPG

                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0041.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0042.JPG

                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0043.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0044.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0045.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0046.JPG

                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0047.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0048.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0049.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0050.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0051.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0052.JPG

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                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0054.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0055.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0056.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0057.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0058.JPG
                               \\TICRS\EXPORT17\IMAGEOUT17\871\702\87170244\xml5\ROA0059.JPG
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                               evidence which support response to office action showing that there is no likelihood of confusion
DESCRIPTION OF EVIDENCE FILE
                               between Applicant's mark ENVII and Registrant's mark ENVY.
SIGNATURE SECTION
RESPONSE SIGNATURE             /David Yu/
SIGNATORY'S NAME               David Yu
SIGNATORY'S POSITION           Attorney of record, California bar member
SIGNATORY'S PHONE NUMBER       949-863-9782
DATE SIGNED                    06/16/2017
AUTHORIZED SIGNATORY           YES
            Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 65 of 165 Page ID #:65


 FILING INFORMATION SECTION
 SUBMIT DATE                                            Fri Jun 16 13:48:09 EDT 2017
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                                                        0170616134809155101-87170
                                                        244-5901d87a888cfb7eaf743
 TEAS STAMP
                                                        b5cfa49439c04fb37801b9f64
                                                        5538785a85ac47c2f34d-N/A-
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Under the Paperwork Reduction Act of 1995 no persons are required to respond to a collection of information unless it displays a valid OMB control number.
PTO Form 1957 (Rev 10/2011)
OMB No. 0651-0050 (Exp 07/31/2017)




                                                                   Response to Office Action
To the Commissioner for Trademarks:
Application serial no. 87170244 ENVII(Standard Characters, see https://tmng-al.uspto.gov/resting2/api/img/87170244/large) has been amended
as follows:

ARGUMENT(S)
In response to the substantive refusal(s), please note the following:

IN THE UNITED STATES PATENT AND TRADEMARK OFFICE Applicant: Envii, Inc. Serial No: 87170244 Mark: ENVII Class: 34 Filed:
September13, 2016 RESPONSE TO OFFICE ACTION DATED DECEMBER 16, 2017 REMARKS I. Likelihood of Confusion Refusal Under
Section 2(d) The Examining Attorney?s refusal to register Applicant?s mark under Section 2(d) of the Trademark Act is made on the basis that
Applicant?s mark, ENVII, when used on or in connection with the identified goods, so resembles the mark ENVY in Registration No. 4717824,
as to be likely to cause confusion, to cause mistake or to deceive. A likelihood of confusion may be said to exist only where (1) an applicant?s
mark is similar to the cited mark in terms of sight, sound, or commercial impression, and (2) the applicant?s goods are so related to the goods
associated with the cited mark, or the activities surrounding their respective marketing efforts are so similar, that confusion as to the source of the
goods is likely. See In re E.I. DuPont de Nemours & Co., 476 F.2d 1357, 177 U.S.P.Q. 563 (C.C.P.A. 1973); In re Aug. Storck KG, 218 U.S.P.Q.
823 (T.T.A.B. 1983); In re Int?l Telephone & Telegraph Co., 197 U.S.P.Q. 910 (T.T.A.B 1978). Among the factors to be considered in the
determination of likelihood of confusion under Section 2(d), the following are particularly pertinent: 1. the similarity or dissimilarity of the marks
in their entireties as to appearance, sound, connotation and commercial impression; 2. the similarity or dissimilarity of, and nature of the goods or
services described in an application or registration or in connection with which a prior mark is in use: 3. the market interface between the
Applicant and Registrants; 4. the conditions under which, and the buyers to whom sales are made, i.e., ?impulse? vs. careful, sophisticated
purchasing; 5. the number and nature of similar marks in use; and 6. the extent of potential confusion. No one factor is controlling. Each factor
may, from case-to-case, play a dominant role. See In re E.I. DuPont de Nemours & Co., 476 F.2d 1357, 1360-62 (C.C.P.A. 1973). Moreover,
there is no mechanical test for determining likelihood of confusion. The question to be determined is not whether the actual goods or services are
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       Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 66 of 165 Page ID #:66

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same classification of goods does not lead to the conclusion that a likelihood of confusion will result between the two marks. See In re Dayco
Products-Eaglemotive Inc., 9 U.S.P.Q. 2d 1910 (TTAB 1988) (no likelihood of confusion found for IMPERIAL for automobiles and structural
parts and IMPERIAL for automotive products). III. Applicant?s Goods are Employed by Careful, Sophisticated Purchasers Applicant?s products
are for consumer who seek a more mature and sophisticated vaping experience. Applicant?s products for electronic cigarettes or vaporizers
generally retail for $50-$100. Attached as Exhibit 4 are various pages from Applicant?s website vapeenvii.com. Registrant?s products are
generally for entry level smokers. Registrant?s primary electronic cigarette is the Envy Nirvana Starter/Economy Pack which is currently sold for
$19.95. In fact, all products sold by Registrant online can be bought for $30.00 or less except for the Envy Tactical Coil Rebuilding Kit which is
not an electronic cigarette. Attached as Exhibit 5 is a list of Registrant?s products and its pricing from Registrant?s website, envycig.com. Here,
Applicant?s consumers are persons who are careful and sophisticated about what type of vaporizer they will choose. ENVII offers a wide array of
different vaporizers and electronic cigarettes because it understands that smokers can be very particular. It provides at least sixteen different of
flavored liquids to be inserted into the devices on its website. It also provides accessories for replacement and customization. Applicant
understands that the consumers in their market are particular and all have unique needs to be satisfied. See Exhibit 3 for examples of ENVII?s
products. Applicant?s consumers will likely go online to research its products and compare them with other brands, because they want to
purchase an item that will provide a particular vaping experience. As such, generally consumers shopping for electronic cigarettes will not
confused by the Applicant?s and Registrant?s mark. IV. There is No Evidence of Actual Source Confusion Between Applicant and Registrant
Significantly, Applicant?s service has been operational since 2016, and Applicant is unaware of any instance of actual consumer confusion
between the source of its own services and the source of Registrant?s former services. In fact, Applicant was unaware of the existence of ENVY
until receiving the USPTO Office Action responded to herein. V. In the Unlikely Event of Actual Confusion, Such Confusion Would Be Strictly
De Minimus. Should actual confusion occur, the extent of that confusion will be de minimus and easily overcome. In the unlikely event that a
consumer of Registrant?s e-cigarettes were to hear Applicant?s mark or see Applicant?s mark out of context, they will seek out Applicant?s
website believing it to identify Registrant?s source, that individual would quickly realize that Applicant does not offer low-end smokeless
electronic cigarettes and is engaged in a radically different electronic cigarette business than Registrant?s business. Based on the foregoing, there
is no likelihood of confusion between Applicant?s mark and the mark contained in the cited registration. Therefore, Applicant respectfully
requests that its application proceed to publication in the Official Gazette. The Examining Attorney is invited to contact the undersigned with any
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questions concerning this matter. CONCLUSION Applicant respectfully submits that its application is now in condition for publication. The
Examining Attorney is invited to contact the undersigned with any questions concerning this matter. Respectfully submitted, Date: June 16, 2017
/s/ David Yu____________________ David Yu ARDENT LAW GROUP, P.C. Attorney for Applicant

EVIDENCE
Evidence in the nature of evidence which support response to office action showing that there is no likelihood of confusion between Applicant's
mark ENVII and Registrant's mark ENVY. has been attached.
Original PDF file:
evi_1089288113-20170616132406467341_._2017-06-16_TM_Resp_to_OA__ENVII_word_.pdf
Converted PDF file(s) ( 59 pages)
Evidence-1
Evidence-2
Evidence-3
Evidence-4
Evidence-5
Evidence-6
Evidence-7
Evidence-8
Evidence-9
Evidence-10
Evidence-11
Evidence-12
Evidence-13
Evidence-14
Evidence-15
Evidence-16
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Evidence-50
Evidence-51
Evidence-52
Evidence-53
Evidence-54
Evidence-55
Evidence-56
Evidence-57
Evidence-58
Evidence-59

SIGNATURE(S)
Response Signature
Signature: /David Yu/ Date: 06/16/2017
Signatory's Name: David Yu
Signatory's Position: Attorney of record, California bar member

Signatory's Phone Number: 949-863-9782

The signatory has confirmed that he/she is an attorney who is a member in good standing of the bar of the highest court of a U.S. state, which
includes the District of Columbia, Puerto Rico, and other federal territories and possessions; and he/she is currently the owner's/holder's attorney
or an associate thereof; and to the best of his/her knowledge, if prior to his/her appointment another U.S. attorney or a Canadian attorney/agent
not currently associated with his/her company/firm previously represented the owner/holder in this matter: (1) the owner/holder has filed or is
concurrently filing a signed revocation of or substitute power of attorney with the USPTO; (2) the USPTO has granted the request of the prior
representative to withdraw; (3) the owner/holder has filed a power of attorney appointing him/her in this matter; or (4) the owner's/holder's
appointed U.S. attorney or Canadian attorney/agent has filed a power of attorney appointing him/her as an associate attorney in this matter.


Serial Number: 87170244
Internet Transmission Date: Fri Jun 16 13:48:09 EDT 2017
TEAS Stamp: USPTO/ROA-XXX.XX.XX.XXX-2017061613480915
5101-87170244-5901d87a888cfb7eaf743b5cfa
49439c04fb37801b9f645538785a85ac47c2f34d
-N/A-N/A-20170616132406467341
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                              EXHIBIT I
     Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 129 of 165 Page ID #:129


      Generated on: This page was generated by TSDR on 2017-09-18 19:22:55 EDT
               Mark: ENVII




  US Serial Number: 87170244                                                      Application Filing Sep. 13, 2016
                                                                                              Date:
  Filed as TEAS RF: Yes                                                         Currently TEAS RF: Yes
            Register: Principal
          Mark Type: Trademark
              Status: A final Office action refusing registration has been sent (issued) because the applicant neither satisfied nor overcame all requirements
                      and/or refusals previously raised. The applicant may respond by filing (1) a request for reconsideration; and/or (2) an appeal to the
                      Trademark Trial and Appeal Board. To view all documents in this file, click on the Trademark Document Retrieval link at the top of this
                      page.
        Status Date: Jul. 04, 2017



                                                                 Mark Information
         Mark Literal ENVII
          Elements:
 Standard Character Yes. The mark consists of standard characters without claim to any particular font style, size, or color.
            Claim:
       Mark Drawing 4 - STANDARD CHARACTER MARK
              Type:

                                                                Goods and Services
Note: The following symbols indicate that the registrant/owner has amended the goods/services:

              Brackets [..] indicate deleted goods/services;
              Double parenthesis ((..)) identify any goods/services not claimed in a Section 15 affidavit of incontestability; and
              Asterisks *..* identify additional (new) wording in the goods/services.

                 For: Electronic cigarette boxes; Electronic cigarettes
        International 034 - Primary Class                                             U.S Class(es): 002, 008, 009, 017
           Class(es):
       Class Status: ACTIVE
               Basis: 1(a)
           First Use: Aug. 01, 2016                                              Use in Commerce: Aug. 01, 2016

                                                     Basis Information (Case Level)
               Filed Use: Yes                                      Currently Use: Yes                                        Amended Use: No
               Filed ITU: No                                       Currently ITU: No                                         Amended ITU: No
               Filed 44D: No                                       Currently 44D: No                                         Amended 44D: No
               Filed 44E: No                                       Currently 44E: No                                         Amended 44E: No
               Filed 66A: No                                       Currently 66A: No
         Filed No Basis: No                                  Currently No Basis: No

                                                     Current Owner(s) Information
       Owner Name: Envii, Inc.
    Owner Address: 11362 Glen Cove Dr.
                   Garden Grove, CALIFORNIA 92843
                   UNITED STATES
  Legal Entity Type: CORPORATION                                                   State or Country CALIFORNIA
                                                                                  Where Organized:
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                                      Attorney/Correspondence Information
                                                              Attorney of Record
      Attorney Name: David Yu                                          Docket Number: ENVII WORD
    Attorney Primary dyu@ardentlawgroup.com                             Attorney Email Yes
     Email Address:                                                        Authorized:
                                                                  Correspondent
      Correspondent DAVID YU
      Name/Address: ARDENT LAW GROUP, P.C.
                    2301 DUPONT DR., SUITE 510
                    IRVINE, CALIFORNIA 92612
                    UNITED STATES
                Phone: 9498639782                                                    Fax: 9498639783
   Correspondent e- dyu@ardentlawgroup.com aking@ardentlawgroup       Correspondent e- Yes
              mail: .com                                               mail Authorized:
                                                      Domestic Representative - Not Found

                                                      Prosecution History
                                                                                                          Proceeding
   Date              Description
                                                                                                          Number
Jul. 04, 2017     NOTIFICATION OF FINAL REFUSAL EMAILED
Jul. 04, 2017     FINAL REFUSAL E-MAILED
Jul. 04, 2017     FINAL REFUSAL WRITTEN                                                                 76419
Jun. 17, 2017     TEAS/EMAIL CORRESPONDENCE ENTERED                                                     88889
Jun. 16, 2017     CORRESPONDENCE RECEIVED IN LAW OFFICE                                                 88889
Jun. 16, 2017     TEAS RESPONSE TO OFFICE ACTION RECEIVED
Dec. 16, 2016     NOTIFICATION OF NON-FINAL ACTION E-MAILED                                             6325
Dec. 16, 2016     NON-FINAL ACTION E-MAILED                                                             6325
Dec. 16, 2016     NON-FINAL ACTION WRITTEN                                                              76419
Dec. 15, 2016     ASSIGNED TO EXAMINER                                                                  76419
Sep. 20, 2016     NOTICE OF PSEUDO MARK E-MAILED
Sep. 17, 2016     NEW APPLICATION OFFICE SUPPLIED DATA ENTERED IN TRAM
Sep. 16, 2016     NEW APPLICATION ENTERED IN TRAM

                                           TM Staff and Location Information
                                                              TM Staff Information
          TM Attorney: FRENCH, CURTIS W                                     Law Office LAW OFFICE 115
                                                                            Assigned:
                                                                  File Location
   Current Location: TMO LAW OFFICE 115 - EXAMINING                   Date in Location: Jul. 04, 2017
                     ATTORNEY ASSIGNED
      Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 131 of 165 Page ID #:131


To:             Envii, Inc. (dyu@ardentlawgroup.com)
Subject:        U.S. TRADEMARK APPLICATION NO. 87170244 - ENVII - ENVII WORD
Sent:           7/4/2017 1:08:01 PM
Sent As:        ECOM115@USPTO.GOV
Attachments:    Attachment - 1
                Attachment - 2
                Attachment - 3
                Attachment - 4
                Attachment - 5
                Attachment - 6
                Attachment - 7
                Attachment - 8
                Attachment - 9
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                Attachment - 28
                Attachment - 29

                          UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)
                  OFFICE ACTION (OFFICIAL LETTER) ABOUT APPLICANT’S TRADEMARK APPLICATION

                           U.S. APPLICATION
                           SERIAL NO. 87170244

                           MARK: ENVII
                                                    *87170244*
                           CORRESPONDENT
                           ADDRESS:                 CLICK HERE TO RESPOND TO THIS
                              DAVID YU              LETTER:
                              ARDENT LAW            http://www.uspto.gov/trademarks/teas/response_forms.jsp
                           GROUP, P.C.
                              2301 DUPONT DR.,      VIEW YOUR APPLICATION FILE
                           SUITE 510
                              IRVINE, CA 92612

                           APPLICANT: Envii, Inc.
      Case 8:18-cv-00190-JVS-KES Document 1 Filed 02/02/18 Page 132 of 165 Page ID #:132

                                     CORRESPONDENT’S
                                     REFERENCE/DOCKET
                                     NO:
                                        ENVII WORD
                                     CORRESPONDENT
                                     E-MAIL ADDRESS:

                                     dyu@ardentlawgroup.com



                                                              OFFICE ACTION

                                     STRICT DEADLINE TO RESPOND TO THIS LETTER
TO AVOID ABANDONMENT OF APPLICANT’S TRADEMARK APPLICATION, THE USPTO MUST RECEIVE APPLICANT’S
COMPLETE RESPONSE TO THIS LETTER WITHIN 6 MONTHS OF THE ISSUE/MAILING DATE BELOW. A RESPONSE
TRANSMITTED THROUGH THE TRADEMARK ELECTRONIC APPLICATION SYSTEM (TEAS) MUST BE RECEIVED BEFORE
MIDNIGHT EASTERN TIME OF THE LAST DAY OF THE RESPONSE PERIOD.


ISSUE/MAILING DATE: 7/4/2017


THIS IS A FINAL ACTION.




This letter responds to the applicant's communication filed on June 16, 2017.

Registration was refused under Trademark Act Section 2(d), 15 U.S.C. Section 1052(d), because the mark for which registration is sought so
resembles the mark shown in U.S. Registration No. 4717824 as to be likely, when used on the identified goods/services, to cause confusion, or to
cause mistake, or to deceive.

The examining attorney considered the applicant's arguments carefully but finds them unpersuasive. For the reasons below, the refusal under
Section 2(d) is maintained and made FINAL.

Summary of Issues that Applicant Must Address

      Refusal under Section 2(d) – Likelihood of Confusion

Refusal under Section 2(d) – Likelihood of Confusion

 Trademark Act Section 2(d) bars registration of an applied-for mark that so resembles a registered mark that it is likely a potential consumer
would be confused, mistaken, or deceived as to the source of the goods and/or services of the applicant and registrant. See 15 U.S.C. §1052(d).
A determination of likelihood of confusion under Section 2(d) is made on a case-by-case basis and the factors set forth in In re E. I. du Pont de
Nemours & Co., 476 F.2d 1357, 1361, 177 USPQ 563, 567 (C.C.P.A. 1973) aid in this determination. Citigroup Inc. v. Capital City Bank Grp.,
Inc., 637 F.3d 1344, 1349, 98 USPQ2d 1253, 1256 (Fed. Cir. 2011) (citing On-Line Careline, Inc. v. Am. Online, Inc., 229 F.3d 1080, 1085, 56
USPQ2d 1471, 1474 (Fed. Cir. 2000)). Not all the du Pont factors, however, are necessarily relevant or of equal weight, and any one of the
factors may control in a given case, depending upon the evidence of record. Citigroup Inc. v. Capital City Bank Grp., Inc., 637 F.3d at 1355, 98
USPQ2d at 1260; In re Majestic Distilling Co., 315 F.3d 1311, 1315, 65 USPQ2d 1201, 1204 (Fed. Cir. 2003); see In re E. I. du Pont de
Nemours & Co., 476 F.2d at 1361-62, 177 USPQ at 567.

In this case, the following factors are the most relevant: similarity of the marks, similarity and nature of the goods and/or services, and similarity
of the trade channels of the goods and/or services. See In re Viterra Inc., 671 F.3d 1358, 1361-62, 101 USPQ2d 1905, 1908 (Fed. Cir. 2012); In
re Dakin’s Miniatures Inc. , 59 USPQ2d 1593, 1595-96 (TTAB 1999); TMEP §§1207.01 et seq.

Applicant seeks to register the proposed mark ENVII. The cited registration is for the mark ENVY. These marks are quite similar in sound and
connotation, and they create confusingly similar commercial impressions.

The applicant contends that the marks are dissimilar in their entireties, arguing that the marks are visually different, are not pronounced the same
and have different commercial impressions. The applicant argues that the term ENVII would have a different pronunciation than the term
ENVY. There is no correct pronunciation of a mark because it is impossible to predict how the public will pronounce a particular mark. See
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Embarcadero Techs., Inc. v. RStudio, Inc., 105 USPQ2d 1825, 1835 (TTAB 2013) (quoting In re Viterra Inc., 671 F.3d 1358, 1367, 101
USPQ2d 1905, 1912 (Fed. Cir. 2012); In re The Belgrade Shoe Co., 411 F.2d 1352, 1353, 162 USPQ 227, 227 (C.C.P.A. 1969)); TMEP
§1207.01(b)(iv). The marks in question could clearly be pronounced the same; such similarity in sound alone may be sufficient to
support a finding that the marks are confusingly similar. In re White Swan Ltd., 8 USPQ2d 1534, 1535 (TTAB 1988); see In re 1st USA
Realty Prof’ls, Inc. , 84 USPQ2d 1581, 1586 (TTAB 2007); TMEP §1207.01(b)(iv).

Similarity in sound alone may be sufficient to support a finding that the marks are confusingly similar. In re White Swan Ltd., 8 USPQ2d 1534,
1535 (TTAB 1988); see In re 1st USA Realty Prof’ls, Inc. , 84 USPQ2d 1581, 1586 (TTAB 2007); TMEP §1207.01(b)(iv). The applicant’s
website is www.vapeenvi.com. Consumers may read and pronounce the name of the website as VAPE ENVY .COM. The applicant provided a
copy of its website in its response of June 16, 2017. The examining attorney attaches copies of articles illustrating that consumers do in fact
pronounce the applicant’s mark as ENVY. A review for the applicant’s goods reads “[t]he Artisan RTA comes from US based ENVII
(pronounced ENVY). . .” This evidence also shows that the marks have the same commercial impression. The applicant’s mark clearly
connotes the term ENVY. For instance, one of the attached articles uses the wording “green with envy” when describing the applicant’s goods.
Another article reviewing the applicant’s product states “The Loch Ness Envii will give you mod envy.” Consumers view the term ENVII to
connote the term ENVY.

The goods and/or services of the parties need not be identical or even competitive to find a likelihood of confusion. See On-line Careline Inc. v.
Am. Online Inc., 229 F.3d 1080, 1086, 56 USPQ2d 1471, 1475 (Fed. Cir. 2000); Recot, Inc. v. Becton, 214 F.3d 1322, 1329, 54 USPQ2d 1894,
1898 (Fed. Cir. 2000) (“[E]ven if the goods in question are different from, and thus not related to, one another in kind, the same goods can be
related in the mind of the consuming public as to the origin of the goods.”); TMEP §1207.01(a)(i).

The respective goods and/or services need only be “related in some manner and/or if the circumstances surrounding their marketing are such
that they could give rise to the mistaken belief that [the goods and/or services] emanate from the same source.” Coach Servs., Inc. v. Triumph
Learning LLC, 668 F.3d 1356, 1369, 101 USPQ2d 1713, 1722 (Fed. Cir. 2012) (quoting 7-Eleven Inc. v. Wechsler, 83 USPQ2d 1715, 1724
(TTAB 2007)); TMEP §1207.01(a)(i).

Applicant seeks to register its mark for “Electronic cigarette boxes; Electronic cigarettes.” Registrant’s goods are “electronic hookahs;
smokeless cigar vaporizer pipes; and smokeless cigarette vaporizer pipe.” These goods are closely related because they are electronic cigarettes.


The applicant argues that while their goods and the goods of the registrant are both classified in INT. CLASS 34, this does not lead to the
conclusion that the goods are highly related. The examining attorney specified that the goods are related because they are both electronic
cigarettes, not because they are in the same class. The examining attorney attaches webpages from the applicant’s website as well as the
registrant’s website, illustrating that the goods are highly related and identical in some cases. Both offer e-cigarette tanks and atomizers.
Please note, where the goods and/or services of an applicant and registrant are identical or virtually identical, the degree of similarity between
the marks required to support a finding of likelihood of confusion is not as great as in the case of diverse goods and/or services. See In re Bay
State Brewing Co., 117 USPQ2d 1958, 1960 (TTAB 2016) (citing Coach Servs., Inc. v. Triumph Learning LLC, 668 F.3d 1356, 1368, 101
USPQ2d 1713, 1721 (Fed. Cir. 2012)); United Global Media Grp., Inc. v. Tseng, 112 USPQ2d 1039, 1049 (TTAB 2014) (quoting Century 21
Real Estate Corp. v. Century Life of Am., 970 F.2d 874, 877, 23 USPQ2d 1698, 1701 (Fed. Cir. 1992)); TMEP §1207.01(b).

The applicant argues that the goods would not be confused because its customers are sophisticated consumers. The fact that purchasers are
sophisticated or knowledgeable in a particular field does not necessarily mean that they are sophisticated or knowledgeable in the field of
trademarks or immune from source confusion. TMEP §1207.01(d)(vii); see, e.g., Stone Lion Capital Partners, LP v. Lion Capital LLP, 746
F.3d. 1317, 1325, 110 USPQ2d 1157, 1163-64 (Fed. Cir. 2014); Top Tobacco LP v. N. Atl. Operating Co., 101 USPQ2d 1163, 1170 (TTAB
2011).

Neither the application nor the registration(s) contains any limitations regarding trade channels for the goods and therefore it is assumed that
registrant’s and applicant’s goods are sold everywhere that is normal for such items. Thus, it can also be assumed that the same classes of
purchasers shop for these items and that consumers are accustomed to seeing them sold under the same or similar marks. See Kangol Ltd. v.
KangaROOS U.S.A., Inc., 974 F.2d 161, 23 USPQ2d 1945 (Fed. Cir. 1992); In re Smith & Mehaffey, 31 USPQ2d 1531 (TTAB 1994); TMEP
§1207.01(a)(iii).

Lastly, the applicant argues that it has been in business since 2016 and is unaware of any instances of actual confusion. The test under
Trademark Act Section 2(d) is whether there is a likelihood of confusion. It is not necessary to show actual confusion to establish a likelihood of
confusion. Herbko Int’l, Inc. v. Kappa Books, Inc. , 308 F.3d 1156, 1165, 64 USPQ2d 1375, 1380 (Fed. Cir. 2002) (citing Giant Food, Inc. v.
Nation’s Foodservice, Inc. , 710 F.2d 1565, 1571, 218 USPQ 390, 396 (Fed. Cir. 1983)); TMEP §1207.01(d)(ii). The Trademark Trial and
Appeal Board stated as follows:

       [A]pplicant’s assertion that it is unaware of any actual confusion occurring as a result of the contemporaneous use of the marks of
       applicant and registrant is of little probative value in an ex parte proceeding such as this where we have no evidence pertaining to the
       nature and extent of the use by applicant and registrant (and thus cannot ascertain whether there has been ample opportunity for confusion
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        to arise, if it were going to); and the registrant has no chance to be heard from (at least in the absence of a consent agreement, which
        applicant has not submitted in this case).

In re Kangaroos U.S.A., 223 USPQ 1025, 1026-27 (TTAB 1984).

In view of all of the foregoing, the refusal pursuant to Trademark Act Section 2(d) is repeated and made FINAL.

Proper Response to a Final Action

Applicant must respond within six months of the date of issuance of this final Office action or the application will be abandoned. 15 U.S.C.
§1062(b); 37 C.F.R. §2.65(a). Applicant may respond by providing one or both of the following:

        (1)    a response filed using the Trademark Electronic Application System (TEAS) that fully satisfies all outstanding requirements
               and/or resolves all outstanding refusals; and/or

        (2)    an appeal to the Trademark Trial and Appeal Board filed using the Electronic System for Trademark Trials and Appeals (ESTTA)
               with the required filing fee of $200 per class.

37 C.F.R. §2.63(b)(1)-(2); TMEP §714.04; see 37 C.F.R. §2.6(a)(18); TBMP ch. 1200.

In certain rare circumstances, an applicant may respond by filing a petition to the Director pursuant to 37 C.F.R. §2.63(b)(2) to review
procedural issues. TMEP §714.04; see 37 C.F.R. §2.146(b); TBMP §1201.05; TMEP §1704 (explaining petitionable matters). There is a fee
required for filing a petition. 37 C.F.R. §2.6(a)(15).


TEAS PLUS OR TEAS REDUCED FEE (TEAS RF) APPLICANTS – TO MAINTAIN LOWER FEE, ADDITIONAL
REQUIREMENTS MUST BE MET, INCLUDING SUBMITTING DOCUMENTS ONLINE: Applicants who filed their application
online using the lower-fee TEAS Plus or TEAS RF application form must (1) file certain documents online using TEAS, including responses to
Office actions (see TMEP §§819.02(b), 820.02(b) for a complete list of these documents); (2) maintain a valid e-mail correspondence address;
and (3) agree to receive correspondence from the USPTO by e-mail throughout the prosecution of the application. See 37 C.F.R. §§2.22(b),
2.23(b); TMEP §§819, 820. TEAS Plus or TEAS RF applicants who do not meet these requirements must submit an additional processing fee of
$125 per class of goods and/or services. 37 C.F.R. §§2.6(a)(1)(v), 2.22(c), 2.23(c); TMEP §§819.04, 820.04. However, in certain situations,
TEAS Plus or TEAS RF applicants may respond to an Office action by authorizing an examiner’s amendment by telephone or e-mail without
incurring this additional fee.



                                                /Curtis French/
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TO RESPOND TO THIS LETTER: Go to http://www.uspto.gov/trademarks/teas/response_forms.jsp. Please wait 48-72 hours from the
issue/mailing date before using the Trademark Electronic Application System (TEAS), to allow for necessary system updates of the application.
For technical assistance with online forms, e-mail TEAS@uspto.gov. For questions about the Office action itself, please contact the assigned
trademark examining attorney. E-mail communications will not be accepted as responses to Office actions; therefore, do not respond to
this Office action by e-mail.

All informal e-mail communications relevant to this application will be placed in the official application record.

WHO MUST SIGN THE RESPONSE: It must be personally signed by an individual applicant or someone with legal authority to bind an
applicant (i.e., a corporate officer, a general partner, all joint applicants). If an applicant is represented by an attorney, the attorney must sign the
response.

PERIODICALLY CHECK THE STATUS OF THE APPLICATION: To ensure that applicant does not miss crucial deadlines or official
notices, check the status of the application every three to four months using the Trademark Status and Document Retrieval (TSDR) system at
http://tsdr.uspto.gov/. Please keep a copy of the TSDR status screen. If the status shows no change for more than six months, contact the
Trademark Assistance Center by e-mail at TrademarkAssistanceCenter@uspto.gov or call 1-800-786-9199. For more information on checking
status, see http://www.uspto.gov/trademarks/process/status/.
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TO UPDATE CORRESPONDENCE/E-MAIL ADDRESS: Use the TEAS form at http://www.uspto.gov/trademarks/teas/correspondence.jsp.
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To:                   Envii, Inc. (dyu@ardentlawgroup.com)
Subject:              U.S. TRADEMARK APPLICATION NO. 87170244 - ENVII - ENVII WORD
Sent:                 7/4/2017 1:08:03 PM
Sent As:              ECOM115@USPTO.GOV
Attachments:

                            UNITED STATES PATENT AND TRADEMARK OFFICE (USPTO)



                                        IMPORTANT NOTICE REGARDING YOUR
                                           U.S. TRADEMARK APPLICATION

                                 USPTO OFFICE ACTION (OFFICIAL LETTER) HAS ISSUED
                                 ON 7/4/2017 FOR U.S. APPLICATION SERIAL NO. 87170244

Please follow the instructions below:

(1) TO READ THE LETTER: Click on this link or go to http://tsdr.uspto.gov, enter the U.S. application serial number, and click on
“Documents.”

The Office action may not be immediately viewable, to allow for necessary system updates of the application, but will be available within 24
hours of this e-mail notification.

(2) TIMELY RESPONSE IS REQUIRED: Please carefully review the Office action to determine (1) how to respond, and (2) the applicable
response time period. Your response deadline will be calculated from 7/4/2017 (or sooner if specified in the Office action). A response
transmitted through the Trademark Electronic Application System (TEAS) must be received before midnight Eastern Time of the last day of the
response period. For information regarding response time periods, see http://www.uspto.gov/trademarks/process/status/responsetime.jsp.

Do NOT hit “Reply” to this e-mail notification, or otherwise e-mail your response because the USPTO does NOT accept e-mails as
responses to Office actions. Instead, the USPTO recommends that you respond online using the TEAS response form located at
http://www.uspto.gov/trademarks/teas/response_forms.jsp.

(3) QUESTIONS: For questions about the contents of the Office action itself, please contact the assigned trademark examining attorney. For
technical assistance in accessing or viewing the Office action in the Trademark Status and Document Retrieval (TSDR) system, please e-mail
TSDR@uspto.gov.


                                                              WARNING

Failure to file the required response by the applicable response deadline will result in the ABANDONMENT of your application. For
more information regarding abandonment, see http://www.uspto.gov/trademarks/basics/abandon.jsp.

PRIVATE COMPANY SOLICITATIONS REGARDING YOUR APPLICATION: Private companies not associated with the USPTO are
using information provided in trademark applications to mail or e-mail trademark-related solicitations. These companies often use names that
closely resemble the USPTO and their solicitations may look like an official government document. Many solicitations require that you pay
“fees.”

Please carefully review all correspondence you receive regarding this application to make sure that you are responding to an official document
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